Case 4:19-cv-07123-PJH Document 45-9 Filed 04/02/20 Page 1 of 49




                 EXHIBIT 8
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 2 of 49

    https://www.whatsapp.com/legal?eea=0                                              Go   APR MAY OCT                  👤     ⍰❎
            WhatsApp Legal Info
   10 captures                                                                                     30                         f 🐦
   17 Jul 2018 - 3 Jan 2020                                                                2018 2019 2020           ▾ About this capture




           Key Updates           Terms of Service          Privacy Policy         Privacy Shield        IP Policy

           Cookies            Payments


       If you live in the European Region, WhatsApp Ireland Limited provides WhatsApp to you under this Terms
       of Service and Privacy Policy.


       Key Updates

       Respect for your privacy is coded into our DNA. Since we started WhatsApp, we’ve built our Services
       with a set of strong privacy principles in mind. In our updated Terms and Privacy Policy you’ll find:

              Information that is easier to understand. Our updated Terms and Privacy Policy are easier to
              understand and reflect new features such as WhatsApp Calling and WhatsApp for web and
              desktop.

              We joined Facebook in 2014. WhatsApp is now part of the Facebook family of companies. Our
              Privacy Policy explains how we work together to improve our services and offerings, like fighting
              spam across apps, making product suggestions, and showing relevant offers and ads on Facebook.
              Nothing you share on WhatsApp, including your messages, photos, and account information, will
              be shared onto Facebook or any of our other family of apps for others to see, and nothing you
              post on those apps will be shared on WhatsApp for others to see.

              Your messages are yours, and we can’t read them. We’ve built privacy, end-to-end encryption,
              and other security features into WhatsApp. We don’t store your messages once they’ve been
              delivered. When they are end-to-end encrypted, we and third parties can’t read them.

              No third-party banner ads. We still do not allow third-party banner ads on WhatsApp.

              New ways to use WhatsApp. We will explore ways for you and businesses to communicate with
              each other using WhatsApp, such as through order, transaction, and appointment information,
              delivery and shipping notifications, product and service updates, and marketing. For example, you
              may receive flight status information for upcoming travel, a receipt for something you purchased,
              or a notification when a delivery will be made. Messages you may receive containing marketing
              could include an offer for something that might interest you. We do not want you to have a
              spammy experience; as with all of your messages, you can manage these communications, and we
              will honor the choices you make.

              The choices you have. If you are an existing user, you can choose not to have your WhatsApp
              account information shared with Facebook to improve your Facebook ads and products
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                                        1/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 3 of 49

             experiences. Existing users
    https://www.whatsapp.com/legal?eea=0       who accept our updated Terms and
                                                                              Go Privacy
                                                                                   APR Policy will have an 👤
                                                                                         MAY OCT
                                                                                                                 ⍰❎
            WhatsApp
           additional
   10 captures        30 Legal
                         days toInfo
                                 make this choice by going to Settings > Account.       30                       f 🐦
   17 Jul 2018 - 3 Jan 2020                                                        2018 2019 2020      ▾ About this capture




       WhatsApp Terms Of Service

       Last modified: August 25, 2016 (archived versions)

       WhatsApp Inc. (“WhatsApp,” “our,” “we,” or “us”) provides messaging, Internet calling, and other
       services to users around the world. Please read our Terms of Service so you understand what’s up with
       your use of WhatsApp. You agree to our Terms of Service (“Terms”) by installing, accessing, or using our
       apps, services, features, software, or website (together, “Services”).

       NO ACCESS TO EMERGENCY SERVICES: There are important differences between WhatsApp and
       your mobile and fixed-line telephone and SMS services. Our Services do not provide access to
       emergency services or emergency services providers, including the police, fire departments, or
       hospitals, or otherwise connect to public safety answering points. You should ensure you can
       contact your relevant emergency services providers through a mobile, fixed-line telephone, or other
       service.

       IF YOU ARE A WHATSAPP USER LOCATED IN THE UNITED STATES OR CANADA, OUR TERMS
       CONTAIN A BINDING ARBITRATION PROVISION, WHICH STATES THAT, EXCEPT IF YOU OPT OUT
       AND EXCEPT FOR CERTAIN TYPES OF DISPUTES, WHATSAPP AND YOU AGREE TO RESOLVE ALL
       DISPUTES THROUGH BINDING INDIVIDUAL ARBITRATION, WHICH MEANS THAT YOU WAIVE ANY
       RIGHT TO HAVE THOSE DISPUTES DECIDED BY A JUDGE OR JURY, AND THAT YOU WAIVE YOUR
       RIGHT TO PARTICIPATE IN CLASS ACTIONS, CLASS ARBITRATIONS, OR REPRESENTATIVE ACTIONS.
       PLEASE READ THE “SPECIAL ARBITRATION PROVISION FOR UNITED STATES OR CANADA USERS”
       SECTION BELOW TO LEARN MORE.



       About our services

       Registration. You must register for our Services using accurate data, provide your current mobile
       phone number, and, if you change it, update this mobile phone number using our in-app change
       number feature. You agree to receive text messages and phone calls (from us or our third-party
       providers) with codes to register for our Services.

       Address Book. You provide us the phone numbers of WhatsApp users and your other contacts in your
       mobile phone address book on a regular basis. You confirm you are authorized to provide us such
       numbers to allow us to provide our Services.



https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           2/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 4 of 49

       Age. You must be at least 13 years
    https://www.whatsapp.com/legal?eea=0           old to use our Services (or such
                                                                                  Gogreater
                                                                                       APR age
                                                                                            MAYrequired
                                                                                                 OCT    in your
                                                                                                              👤country
                                                                                                                 ⍰       ❎
            WhatsApp
      for you
   10 captures           Legal to
               to be authorized Info                                                       30
                                  use our Services without parental approval). In addition to being of thef               🐦
       minimum required age to use our Services under applicable law, if
   17 Jul 2018 - 3 Jan 2020
                                                                                  you2018 2019old
                                                                                      are not     enough ▾
                                                                                                2020     toAbout
                                                                                                            have this capture

       authority to agree to our Terms in your country, your parent or guardian must agree to our Terms on
       your behalf.

       Devices and Software. You must provide certain devices, software, and data connections to use our
       Services, which we otherwise do not supply. For as long as you use our Services, you consent to
       downloading and installing updates to our Services, including automatically.

       Fees and Taxes. You are responsible for all carrier data plan and other fees and taxes associated with
       your use of our Services. We may charge you for our Services, including applicable taxes. We may
       refuse or cancel orders. We do not provide refunds for our Services, except as required by law.



       Privacy policy and user data

       WhatsApp cares about your privacy. WhatsApp’s Privacy Policy describes our information (including
       message) practices, including the types of information we receive and collect from you and how we use
       and share this information. You agree to our data practices, including the collection, use, processing,
       and sharing of your information as described in our Privacy Policy, as well as the transfer and
       processing of your information to the United States and other countries globally where we have or use
       facilities, service providers, or partners, regardless of where you use our Services. You acknowledge that
       the laws, regulations, and standards of the country in which your information is stored or processed
       may be different from those of your own country.



       Acceptable use of our services

       Our Terms and Policies. You must use our Services according to our Terms and posted policies. If we
       disable your account for a violation of our Terms, you will not create another account without our
       permission.

       Legal and Acceptable Use. You must access and use our Services only for legal, authorized, and
       acceptable purposes. You will not use (or assist others in using) our Services in ways that: (a) violate,
       misappropriate, or infringe the rights of WhatsApp, our users, or others, including privacy, publicity,
       intellectual property, or other proprietary rights; (b) are illegal, obscene, defamatory, threatening,
       intimidating, harassing, hateful, racially, or ethnically offensive, or instigate or encourage conduct that
       would be illegal, or otherwise inappropriate, including promoting violent crimes; (c) involve publishing
       falsehoods, misrepresentations, or misleading statements; (d) impersonate someone; (e) involve
       sending illegal or impermissible communications such as bulk messaging, auto-messaging, auto-
       dialing, and the like; or (f) involve any non-personal use of our Services unless otherwise authorized by
       us.

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                             3/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 5 of 49

       Harm to WhatsApp or Our Users.
    https://www.whatsapp.com/legal?eea=0           You must not (or assist others to)
                                                                                  Go access,
                                                                                      APR MAYuse, copy,
                                                                                                  OCT adapt, modify,
                                                                                                             👤 ⍰             ❎
            WhatsApp
      prepare
   10 captures derivative Legal
                          works Info                                                         30
                                based upon, distribute, license, sublicense, transfer, display, perform, or             f 🐦
                                                                                      2018 2019 2020
       otherwise exploit our Services in impermissible or unauthorized
   17 Jul 2018 - 3 Jan 2020
                                                                                  manners, or in ways that   burden,
                                                                                                              ▾ About this capture

       impair, or harm us, our Services, systems, our users, or others, including that you must not directly or
       through automated means: (a) reverse engineer, alter, modify, create derivative works from, decompile,
       or extract code from our Services; (b) send, store, or transmit viruses or other harmful computer code
       through or onto our Services; (c) gain or attempt to gain unauthorized access to our Services or
       systems; (d) interfere with or disrupt the integrity or performance of our Services; (e) create accounts
       for our Services through unauthorized or automated means; (f) collect the information of or about our
       users in any impermissible or unauthorized manner; (g) sell, resell, rent, or charge for our Services; or
       (h) distribute or make our Services available over a network where they could be used by multiple
       devices at the same time.

       Keeping Your Account Secure. You are responsible for keeping your device and your WhatsApp
       account safe and secure, and you must notify us promptly of any unauthorized use or security breach
       of your account or our Services.



       Third-party services

       Our Services may allow you to access, use, or interact with third-party websites, apps, content, and
       other products and services. For example, you may choose to use third-party data backup services
       (such as iCloud or Google Drive) that are integrated with our Services or interact with a share button on
       a third party’s website that enables you to send information to your WhatsApp contacts. Please note
       that when you use third-party services, their own terms and privacy policies will govern your use of
       those services.



       Licenses

       Your Rights. WhatsApp does not claim ownership of the information that you submit for your
       WhatsApp account or through our Services. You must have the necessary rights to such information
       that you submit for your WhatsApp account or through our Services and the right to grant the rights
       and licenses in our Terms.

       WhatsApp’s Rights. We own all copyrights, trademarks, domains, logos, trade dress, trade secrets,
       patents, and other intellectual property rights associated with our Services. You may not use our
       copyrights, trademarks, domains, logos, trade dress, patents, and other intellectual property rights
       unless you have our express permission and except in accordance with our Brand Guidelines. You may
       use the trademarks www.facebookbrand.com/trademarks of our affiliated companies only with their
       permission, including as authorized in any published brand guidelines.




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                                  4/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 6 of 49

       Your License to WhatsApp. In
    https://www.whatsapp.com/legal?eea=0      order to operate and provide our Services,
                                                                                Go APRyou  grant
                                                                                         MAY  OCTWhatsApp👤a
                                                                                                                ⍰❎
            WhatsApp
      worldwide,
   10 captures         Legal Info
                 non-exclusive,                                                         30
                                royalty-free, sublicensable, and transferable license to use, reproduce,        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                    2018 (including
       distribute, create derivative works of, display, and perform the information  2019 2020 the content)   that
                                                                                                    ▾ About this capture

       you upload, submit, store, send, or receive on or through our Services. The rights you grant in this
       license are for the limited purpose of operating and providing our Services (such as to allow us to
       display your profile picture and status message, transmit your messages, store your undelivered
       messages on our servers for up to 30 days as we try to deliver them, and otherwise as described in our
       Privacy Policy).

       WhatsApp’s License to You. We grant you a limited, revocable, non-exclusive, non-sublicensable, and
       non-transferable license to use our Services, subject to and in accordance with our Terms. This license is
       for the sole purpose of enabling you to use our Services, in the manner permitted by our Terms. No
       licenses or rights are granted to you by implication or otherwise, except for the licenses and rights
       expressly granted to you.



       Reporting third-party copyright, trademark, and other intellectual
       property infringement

       To report claims of third-party copyright, trademark, or other intellectual property infringement, please
       visit our Intellectual Property Policy. We may terminate your WhatsApp account if you repeatedly
       infringe the intellectual property rights of others.



       Disclaimers

       YOU USE OUR SERVICES AT YOUR OWN RISK AND SUBJECT TO THE FOLLOWING DISCLAIMERS. WE
       ARE PROVIDING OUR SERVICES ON AN “AS IS” BASIS WITHOUT ANY EXPRESS OR IMPLIED
       WARRANTIES, INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
       PARTICULAR PURPOSE, TITLE, NON-INFRINGEMENT, AND FREEDOM FROM COMPUTER VIRUS OR
       OTHER HARMFUL CODE. WE DO NOT WARRANT THAT ANY INFORMATION PROVIDED BY US IS
       ACCURATE, COMPLETE, OR USEFUL, THAT OUR SERVICES WILL BE OPERATIONAL, ERROR FREE,
       SECURE, OR SAFE, OR THAT OUR SERVICES WILL FUNCTION WITHOUT DISRUPTIONS, DELAYS, OR
       IMPERFECTIONS. WE DO NOT CONTROL, AND ARE NOT RESPONSIBLE FOR, CONTROLLING HOW OR
       WHEN OUR USERS USE OUR SERVICES OR THE FEATURES, SERVICES, AND INTERFACES OUR SERVICES
       PROVIDE. WE ARE NOT RESPONSIBLE FOR AND ARE NOT OBLIGATED TO CONTROL THE ACTIONS OR
       INFORMATION (INCLUDING CONTENT) OF OUR USERS OR OTHER THIRD PARTIES. YOU RELEASE US,
       OUR SUBSIDIARIES, AFFILIATES, AND OUR AND THEIR DIRECTORS, OFFICERS, EMPLOYEES, PARTNERS,
       AND AGENTS (TOGETHER, THE “WHATSAPP PARTIES”) FROM ANY CLAIM, COMPLAINT, CAUSE OF
       ACTION, CONTROVERSY, OR DISPUTE (TOGETHER, “CLAIM”) AND DAMAGES, KNOWN AND
       UNKNOWN, RELATING TO, ARISING OUT OF, OR IN ANY WAY CONNECTED WITH ANY SUCH CLAIM
       YOU HAVE AGAINST ANY THIRD PARTIES. YOU WAIVE ANY RIGHTS YOU MAY HAVE UNDER
       CALIFORNIA CIVIL CODE §1542, OR ANY OTHER SIMILAR APPLICABLE STATUTE OR LAW OF ANY
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                        5/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 7 of 49

       OTHER JURISDICTION, WHICH
    https://www.whatsapp.com/legal?eea=0      SAYS THAT: A GENERAL RELEASE DOES NOT MAY
                                                                           Go APR   EXTEND
                                                                                        OCTTO CLAIMS
                                                                                                   👤         ⍰❎
      WHICH WhatsApp
   10 captures         LegalDOES
               THE CREDITOR                                                          30
                             InfoNOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME
                                                                                           f                  🐦
   17 Jul 2018 - 3 Jan 2020                                     2018
       OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST   2019MATERIALLY
                                                                   HAVE   2020     ▾AFFECTED
                                                                                     About this capture

       HIS OR HER SETTLEMENT WITH THE DEBTOR.



       Limitation of liability

       THE WHATSAPP PARTIES WILL NOT BE LIABLE TO YOU FOR ANY LOST PROFITS OR CONSEQUENTIAL,
       SPECIAL, PUNITIVE, INDIRECT, OR INCIDENTAL DAMAGES RELATING TO, ARISING OUT OF, OR IN ANY
       WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES, EVEN IF THE WHATSAPP PARTIES
       HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. OUR AGGREGATE LIABILITY RELATING
       TO, ARISING OUT OF, OR IN ANY WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES
       WILL NOT EXCEED THE GREATER OF ONE HUNDRED DOLLARS ($100) OR THE AMOUNT YOU HAVE
       PAID US IN THE PAST TWELVE MONTHS. THE FOREGOING DISCLAIMER OF CERTAIN DAMAGES AND
       LIMITATION OF LIABILITY WILL APPLY TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW.
       THE LAWS OF SOME STATES OR JURISDICTIONS MAY NOT ALLOW THE EXCLUSION OR LIMITATION OF
       CERTAIN DAMAGES, SO SOME OR ALL OF THE EXCLUSIONS AND LIMITATIONS SET FORTH ABOVE MAY
       NOT APPLY TO YOU. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN OUR TERMS, IN SUCH
       CASES, THE LIABILITY OF THE WHATSAPP PARTIES WILL BE LIMITED TO THE FULLEST EXTENT
       PERMITTED BY APPLICABLE LAW.



       Indemnification

       You agree to defend, indemnify, and hold harmless the WhatsApp Parties from and against all liabilities,
       damages, losses, and expenses of any kind (including reasonable legal fees and costs) relating to,
       arising out of, or in any way in connection with any of the following: (a) your access to or use of our
       Services, including information provided in connection therewith; (b) your breach or alleged breach of
       our Terms; or (c) any misrepresentation made by you. You will cooperate as fully as required by us in
       the defense or settlement of any Claim.



       Dispute resolution

       Forum and Venue. If you are a WhatsApp user located in the United States or Canada, the “Special
       Arbitration Provision for United States or Canada Users” section below applies to you. Please also read
       that section carefully and completely. If you are not subject to the “Special Arbitration Provision for
       United States or Canada Users” section below, you agree that you will resolve any Claim you have with
       us relating to, arising out of, or in any way in connection with our Terms, us, or our Services (each, a
       “Dispute,” and together, “Disputes”) exclusively in the United States District Court for the Northern
       District of California or a state court located in San Mateo County in California, and you agree to
       submit to the personal jurisdiction of such courts for the purpose of litigating all such Disputes.

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                   6/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 8 of 49

       Governing Law. The laws of the
    https://www.whatsapp.com/legal?eea=0        State of California govern our Terms,
                                                                                  Go as wellMAY
                                                                                      APR    as any
                                                                                                 OCTDisputes, whether
                                                                                                              👤 ⍰        ❎
            WhatsApp
      in court
   10 captures            Legal
               or arbitration, which                                                      30
                                 Infomight arise between WhatsApp and you, without regard to conflict off
                                                                                                        law🐦
       provisions.
   17 Jul 2018 - 3 Jan 2020                                                          2018 2019 2020       ▾ About this capture




       Availability and termination of our services

       Availability of Our Services. Our Services may be interrupted, including for maintenance, repairs,
       upgrades, or network or equipment failures. We may discontinue some or all of our Services, including
       certain features and the support for certain devices and platforms, at any time. Events beyond our
       control may affect our Services, such as events in nature and other force majeure events.

       Termination. We may modify, suspend, or terminate your access to or use of our Services anytime for
       any reason, such as if you violate the letter or spirit of our Terms or create harm, risk, or possible legal
       exposure for us, our users, or others. The following provisions will survive any termination of your
       relationship with WhatsApp: “Licenses,” “Disclaimers,” “Limitation of Liability,” “Indemnification,”
       “Dispute Resolution,” “Availability and Termination of our Services,” “Other,” and “Special Arbitration
       Provision for United States or Canada Users.”



       Other

              Unless a mutually executed agreement between you and us states otherwise, our Terms make up
              the entire agreement between you and us regarding WhatsApp and our Services, and supersede
              any prior agreements.

              We may ask you to agree to additional terms for certain of our Services in the future, which will
              govern to the extent there is a conflict between our Terms and such additional terms.

              Our Services are not intended for distribution to or use in any country where such distribution or
              use would violate local law or would subject us to any regulations in another country. We reserve
              the right to limit our Services in any country.

              You will comply with all applicable U.S. and non-U.S. export control and trade sanctions laws
              (“Export Laws”). You will not, directly or indirectly, export, re-export, provide, or otherwise transfer
              our Services: (a) to any individual, entity, or country prohibited by Export Laws; (b) to anyone on
              U.S. or non-U.S. government restricted parties lists; or (c) for any purpose prohibited by Export
              Laws, including nuclear, chemical, or biological weapons, or missile technology applications
              without the required government authorizations. You will not use or download our Services if you
              are located in a restricted country, if you are currently listed on any U.S. or non-U.S. restricted
              parties list, or for any purpose prohibited by Export Laws, and you will not disguise your location
              through IP proxying or other methods.




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              7/48
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                      WhatsApp  Filed
                                                                    Info 04/02/20 Page 9 of 49

             Our Terms are written in English
    https://www.whatsapp.com/legal?eea=0   (U.S.). Any translated versionGo
                                                                          is provided
                                                                              APR MAY  solely
                                                                                          OCTfor your 👤
                                                                                                            ⍰         ❎
            WhatsApp
           convenience.
   10 captures          Legal
                        To the Info
                               extent any translated version  of our Terms  conflicts   30
                                                                                      with the English version,
                                                                                                            f          🐦
                                                                                  2018 2019 2020
              the English version controls.
   17 Jul 2018 - 3 Jan 2020                                                                            ▾ About this capture


              Any amendment to or waiver of our Terms requires our express consent.

              We may amend or update these Terms. We will provide you notice of amendments to our Terms,
              as appropriate, and update the “Last Modified” date at the top of our Terms. Your continued use of
              our Services confirms your acceptance of our Terms, as amended. If you do not agree to our
              Terms, as amended, you must stop using our Services. Please review our Terms from time to time.

              All of our rights and obligations under our Terms are freely assignable by us to any of our affiliates
              or in connection with a merger, acquisition, restructuring, or sale of assets, or by operation of law
              or otherwise, and we may transfer your information to any of our affiliates, successor entities, or
              new owner.

              You will not transfer any of your rights or obligations under our Terms to anyone else without our
              prior written consent.

              Nothing in our Terms will prevent us from complying with the law.

              Except as contemplated herein, our Terms do not give any third-party beneficiary rights.

              If we fail to enforce any of our Terms, it will not be considered a waiver.

              If any provision of these Terms is deemed unlawful, void, or for any reason unenforceable, then
              that provision shall be deemed severable from our Terms and shall not affect the validity and
              enforceability of the remaining provisions, except as set forth in the “Special Arbitration Provision
              for United States or Canada Users” — “Severability” section below.

              We reserve all rights not expressly granted by us to you. In certain jurisdictions, you may have
              legal rights as a consumer, and our Terms are not intended to limit such consumer legal rights that
              may not be waived by contract.

              We always appreciate your feedback or other suggestions about WhatsApp and our Services, but
              you understand that we may use your feedback or suggestions without any obligation to
              compensate you for them (just as you have no obligation to offer them).



       Special arbitration provision for United States or Canada users

       PLEASE READ THIS SECTION CAREFULLY BECAUSE IT CONTAINS ADDITIONAL PROVISIONS
       APPLICABLE ONLY TO OUR UNITED STATES AND CANADA USERS. IF YOU ARE A WHATSAPP USER
       LOCATED IN THE UNITED STATES OR CANADA, IT REQUIRES YOU TO SUBMIT TO BINDING
       INDIVIDUAL ARBITRATION OF ALL DISPUTES, EXCEPT FOR THOSE THAT INVOLVE INTELLECTUAL
       PROPERTY DISPUTES AND EXCEPT THOSE THAT CAN BE BROUGHT IN SMALL CLAIMS COURT. THIS
       MEANS YOU ARE WAIVING YOUR RIGHT TO HAVE SUCH DISPUTES RESOLVED IN COURT BY A
       JUDGE OR JURY. THIS SECTION ALSO LIMITS THE TIME YOU HAVE TO START AN ARBITRATION OR,

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           8/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 10 of 49

       IF PERMISSIBLE, A COURT ACTION.
    https://www.whatsapp.com/legal?eea=0             FINALLY, THIS SECTION WAIVES YOURMAY
                                                                             Go APR    RIGHT
                                                                                          OCTTO HAVE YOUR
                                                                                                     👤 ⍰             ❎
            WhatsApp
      DISPUTE
   10 captures       Legal
               HEARD AND   Info
                         RESOLVED                                                      30
                                  AS A CLASS ACTION, CLASS ARBITRATION, OR A REPRESENTATIVE
                                                                                       f 🐦
       ACTION.
   17 Jul 2018 - 3 Jan 2020                                                       2018 2019 2020      ▾ About this capture



       “Excluded Dispute” means any Dispute relating to the enforcement or infringement of your or our
       intellectual property rights (such as copyrights, trademarks, domains, logos, trade dress, trade secrets,
       and patents). For clarity and notwithstanding the foregoing, those Disputes relating to, arising out of,
       or in any way in connection with your rights of privacy and publicity are not Excluded Disputes.

       Federal Arbitration Act. The United States Federal Arbitration Act governs the interpretation and
       enforcement of this “Special Arbitration Provision for United States or Canada Users” section, including
       any question whether a Dispute between WhatsApp and you is subject to arbitration.

       Agreement to Arbitrate for WhatsApp Users Located in the United States or Canada. For WhatsApp
       users located in the United States or Canada, WhatsApp and you each agree to waive the right to a trial
       by judge or jury for all Disputes, except for the Excluded Disputes. WhatsApp and you agree that all
       Disputes (except for the Excluded Disputes), including those relating to, arising out of, or in any way in
       connection with your rights of privacy and publicity, will be resolved through final and binding
       arbitration. WhatsApp and you agree not to combine a Dispute that is subject to arbitration under our
       Terms with a Dispute that is not eligible for arbitration under our Terms.

       The arbitration will be administered by the American Arbitration Association (AAA) under its
       Commercial Arbitration Rules in effect at the time the arbitration is started, including the Optional
       Rules for Emergency Measures of Protection and the Supplementary Procedures for Consumer-Related
       Disputes (together, the “AAA Rules”). The arbitration will be presided over by a single arbitrator
       selected in accordance with the AAA Rules. The AAA Rules, information regarding initiating a Dispute,
       and a description of the arbitration process are available at www.adr.org. The arbitrator will decide
       whether a Dispute can be arbitrated. The location of the arbitration and the allocation of fees and costs
       for such arbitration shall be determined in accordance with the AAA Rules. Notwithstanding the AAA
       Rules, we will reimburse you for all the AAA administrative fees in Disputes that are subject to the
       Supplementary Procedures for Consumer-Related Disputes, unless the arbitrator determines that a
       Dispute was filed for purposes of harassment or is patently frivolous.

       Opt-Out Procedure. You may opt out of this agreement to arbitrate. If you do so, neither we nor you
       can require the other to participate in an arbitration proceeding. To opt out, you must notify us in
       writing postmarked within 30 days of the later of: (i) the date that you first accepted our Terms; and (ii)
       the date you became subject to this arbitration provision. You must use this address to opt-out:

       WhatsApp Inc.
       Arbitration Opt-Out
       1601 Willow Road
       Menlo Park, California 94025
       United States of America
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                          9/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 11 of 49

       You must include: (1) your name
    https://www.whatsapp.com/legal?eea=0        and residence address; (2) the mobile
                                                                                Go APRphone
                                                                                         MAYnumber
                                                                                              OCT associated
                                                                                                          👤 with
                                                                                                             ⍰       ❎
            WhatsApp
      your account;
   10 captures      and Legal
                        (3) a clear                                                    30
                                Infostatement that you want to opt out of our Terms’ agreement to arbitrate.
                                                                                                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                       2018 2019 2020      ▾ About this capture

       Small Claims Court. As an alternative to arbitration, if permitted by your local “small claims” court’s
       rules, you may bring your Dispute in your local “small claims” court, as long as the matter advances on
       an individual (non-class) basis.

       Time Limit to Start Arbitration. We and you agree that for any Dispute (except for the Excluded
       Disputes) we and you must commence an arbitration proceeding within one year after the Dispute first
       arose; otherwise, such Dispute is permanently barred. This means that if we or you do not commence
       an arbitration within one year after the Dispute first arose, then the arbitration will be dismissed
       because it was started too late.

       No Class Actions, Class Arbitrations, or Representative Actions for Users Located in the United States
       or Canada. We and you each agree that if you are a WhatsApp user located in the United States or
       Canada, each of we and you may bring Disputes against the other only on its or your own behalf, and
       not on behalf of any other person or entity, or any class of people. We and you each agree not to
       participate in a class action, a class-wide arbitration, Disputes brought in a private attorney general or
       representative capacity, or consolidated Disputes involving any other person or entity in connection
       with any Dispute.

       Severability. If the prohibition against class actions and other Disputes brought on behalf of third
       parties is found to be unenforceable for a Dispute, then all of the provisions above under the caption
       “Special Arbitration Provision for United States or Canada Users” will be null and void as to that
       Dispute.

       Place to File Permitted Court Actions. If you opt out of the agreement to arbitrate, if your Dispute is
       an Excluded Dispute, or if the arbitration agreement is found to be unenforceable, you agree to be
       subject to the “Forum and Venue” provisions in the “Dispute Resolution” section set forth above.


       Accessing WhatsApp's terms in different languages

       To access our Terms in certain other languages, change the language setting for your WhatsApp
       session. If our Terms are not available in the language you select, we will default to the English version.

       Please review the following documents, which provide additional information about your use of our
       Services:

       WhatsApp Privacy Policy

       WhatsApp Intellectual Property Policy

       WhatsApp Brand Guidelines

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                         10/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 12 of 49

    https://www.whatsapp.com/legal?eea=0                                          Go   APR MAY OCT
                                                                                                             👤    ⍰❎
            WhatsApp Legal Info
   10 captures                                                                              30                    f 🐦
       WhatsApp Privacy Policy
   17 Jul 2018 - 3 Jan 2020                                                            2018 2019 2020   ▾ About this capture




       Last modified: August 25, 2016 (archived versions)


       Respect for your privacy is coded into our DNA. Since we started WhatsApp, we’ve aspired to build our
       Services with a set of strong privacy principles in mind.

       WhatsApp provides messaging, Internet calling, and other services to users around the world. Our
       Privacy Policy helps explain our information (including message) practices. For example, we talk about
       what information we collect and how this affects you. We also explain the steps we take to protect your
       privacy – like building WhatsApp so delivered messages aren’t stored and giving you control over who
       you communicate with on our Services.

       When we say “WhatsApp,” “our,” “we,” or “us,” we’re talking about WhatsApp Inc. This Privacy Policy
       (“Privacy Policy”) applies to all of our apps, services, features, software, and website (together,
       “Services”) unless specified otherwise.

       Please also read WhatsApp’s Terms of Service (“Terms”), which describes the terms under which you use
       our Services.



       Information We Collect

       WhatsApp receives or collects information when we operate and provide our Services, including when
       you install, access, or use our Services.


       Information You Provide

              Your Account Information. You provide your mobile phone number to create a WhatsApp
              account. You provide us the phone numbers in your mobile address book on a regular basis,
              including those of both the users of our Services and your other contacts. You confirm you are
              authorized to provide us such numbers. You may also add other information to your account, such
              as a profile name, profile picture, and status message.




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           11/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 13 of 49

             Your Messages. We do not
    https://www.whatsapp.com/legal?eea=0        retain your messages in the ordinary
                                                                                 Go course of providing
                                                                                     APR MAY   OCT      our Services
                                                                                                            👤 ⍰     ❎
            WhatsApp
           to
   10 captures          Legalmessages
              you. Once your                                                              30
                              Info (including your chats, photos, videos, voice messages, files, and share
                                                                                                     f 🐦
   17 Jul 2018 - 3 Jan 2020                                                     2018 Your
              location information) are delivered, they are deleted from our servers. 2019 messages
                                                                                           2020     are stored
                                                                                                    ▾ About this capture

              on your own device. If a message cannot be delivered immediately (for example, if you are offline),
              we may keep it on our servers for up to 30 days as we try to deliver it. If a message is still
              undelivered after 30 days, we delete it. To improve performance and deliver media messages more
              efficiently, such as when many people are sharing a popular photo or video, we may retain that
              content on our servers for a longer period of time. We also offer end-to-end encryption for our
              Services, which is on by default, when you and the people with whom you message use a version
              of our app released after April 2, 2016. End-to-end encryption means that your messages are
              encrypted to protect against us and third parties from reading them.

              Your Connections. To help you organize how you communicate with others, we may create a
              favorites list of your contacts for you, and you can create, join, or get added to groups and
              broadcast lists, and such groups and lists get associated with your account information.

              Customer Support. You may provide us with information related to your use of our Services,
              including copies of your messages, and how to contact you so we can provide you customer
              support. For example, you may send us an email with information relating to our app performance
              or other issues.


       Automatically Collected Information

              Usage and Log Information. We collect service-related, diagnostic, and performance information.
              This includes information about your activity (such as how you use our Services, how you interact
              with others using our Services, and the like), log files, and diagnostic, crash, website, and
              performance logs and reports.

              Transactional Information. If you pay for our Services, we may receive information and
              confirmations, such as payment receipts, including from app stores or other third parties
              processing your payment.

              Device and Connection Information. We collect device-specific information when you install,
              access, or use our Services. This includes information such as hardware model, operating system
              information, browser information, IP address, mobile network information including phone
              number, and device identifiers. We collect device location information if you use our location
              features, such as when you choose to share your location with your contacts, view locations
              nearby or those others have shared with you, and the like, and for diagnostics and
              troubleshooting purposes such as if you are having trouble with our app’s location features.




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                        12/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 14 of 49

             Cookies. We use cookies to
    https://www.whatsapp.com/legal?eea=0        operate and provide our Services,
                                                                               Goincluding
                                                                                    APR MAYto provide
                                                                                               OCT    our Services
                                                                                                            👤 ⍰      ❎
            WhatsApp
           that
   10 captures          Legal Info
                are web-based,                                                           30
                               improve your experiences, understand how our Services are being used, and
                                                                                                     f 🐦
                                                                              2018 2019 2020
              customize our Services. For example, we use cookies to provide WhatsApp
   17 Jul 2018 - 3 Jan 2020
                                                                                       for web and▾desktop
                                                                                                   About this capture

              and other web-based services. We may also use cookies to understand which of our FAQs are
              most popular and to show you relevant content related to our Services. Additionally, we may use
              cookies to remember your choices, such as your language preferences, and otherwise to
              customize our Services for you. Learn more about how we use cookies to provide you our Services.

              Status Information. We collect information about your online and status message changes on our
              Services, such as whether you are online (your “online status”), when you last used our Services
              (your “last seen status”), and when you last updated your status message.


       Third-Party Information

              Information Others Provide About You. We receive information other people provide us, which
              may include information about you. For example, when other users you know use our Services,
              they may provide your phone number from their mobile address book (just as you may provide
              theirs), or they may send you a message, send messages to groups to which you belong, or call
              you.

              Third-Party Providers. We work with third-party providers to help us operate, provide, improve,
              understand, customize, support, and market our Services. For example, we work with companies to
              distribute our apps, provide our infrastructure, delivery, and other systems, supply map and places
              information, process payments, help us understand how people use our Services, and market our
              Services. These providers may provide us information about you in certain circumstances; for
              example, app stores may provide us reports to help us diagnose and fix service issues.

              Third-Party Services. We allow you to use our Services in connection with third-party services. If
              you use our Services with such third-party services, we may receive information about you from
              them; for example, if you use the WhatsApp share button on a news service to share a news article
              with your WhatsApp contacts, groups, or broadcast lists on our Services, or if you choose to access
              our Services through a mobile carrier’s or device provider’s promotion of our Services. Please note
              that when you use third-party services, their own terms and privacy policies will govern your use of
              those services.



       How We Use Information

       We use all the information we have to help us operate, provide, improve, understand, customize,
       support, and market our Services.




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                      13/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 15 of 49

             Our Services. We operate
    https://www.whatsapp.com/legal?eea=0      and provide our Services, includingGoproviding
                                                                                      APR MAYcustomer
                                                                                                 OCT support,
                                                                                                           👤and
                                                                                                              ⍰   ❎
            WhatsApp
           improving,
   10 captures           Legal
                      fixing,   Info
                              and                                                      30
                                  customizing our Services. We understand how people use our Services,f
                                                                                                      and🐦
              analyze and use the information we have to evaluate and improve2018
   17 Jul 2018 - 3 Jan 2020
                                                                              our 2019
                                                                                  Services,
                                                                                        2020research, develop,
                                                                                                  ▾ About this capture

              and test new services and features, and conduct troubleshooting activities. We also use your
              information to respond to you when you contact us. We use cookies to operate, provide, improve,
              understand, and customize our Services.

              Safety and Security. We verify accounts and activity, and promote safety and security on and off
              our Services, such as by investigating suspicious activity or violations of our Terms, and to ensure
              our Services are being used legally.

              Communications About Our Services and the Facebook Family of Companies. We communicate
              with you about our Services and features and let you know about our terms and policies and other
              important updates. We may provide you marketing for our Services and those of the Facebook
              family of companies, of which we are now a part.

              No Third-Party Banner Ads. We do not allow third-party banner ads on WhatsApp. We have no
              intention to introduce them, but if we ever do, we will update this policy.

              Commercial Messaging. We will allow you and third parties, like businesses, to communicate with
              each other using WhatsApp, such as through order, transaction, and appointment information,
              delivery and shipping notifications, product and service updates, and marketing. For example, you
              may receive flight status information for upcoming travel, a receipt for something you purchased,
              or a notification when a delivery will be made. Messages you may receive containing marketing
              could include an offer for something that might interest you. We do not want you to have a
              spammy experience; as with all of your messages, you can manage these communications, and we
              will honor the choices you make.



       Information You And We Share

       You share your information as you use and communicate through our Services, and we share your
       information to help us operate, provide, improve, understand, customize, support, and market our
       Services.

              Account Information. Your phone number, profile name and photo, online status and status
              message, last seen status, and receipts may be available to anyone who uses our Services,
              although you can configure your Services settings to manage certain information available to
              other users.

              Your Contacts and Others. Users with whom you communicate may store or reshare your
              information (including your phone number or messages) with others on and off our Services. You
              can use your Services settings and the block feature in our Services to manage the users of our
              Services with whom you communicate and certain information you share.



https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                      14/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 16 of 49

             Third-Party Providers. We
    https://www.whatsapp.com/legal?eea=0       work with third-party providers toGo
                                                                                  helpAPR
                                                                                       us operate,
                                                                                           MAY OCT provide, improve,
                                                                                                              👤 ⍰      ❎
            WhatsAppcustomize,
           understand,
   10 captures         Legal Info                                                         30
                                support, and market our Services. When we share information with third-
                                                                                                   f 🐦
   17 Jul 2018 - 3 Jan 2020                                                    2018 2019
              party providers, we require them to use your information in accordance with2020
                                                                                          our instructions    and
                                                                                                    ▾ About this capture

              terms or with express permission from you.

              Third-Party Services. When you use third-party services that are integrated with our Services, they
              may receive information about what you share with them. For example, if you use a data backup
              service integrated with our Services (such as iCloud or Google Drive), they will receive information
              about what you share with them. If you interact with a third-party service linked through our
              Services, you may be providing information directly to such third party. Please note that when you
              use third-party services, their own terms and privacy policies will govern your use of those
              services.



       Affiliated Companies

       We joined the Facebook family of companies in 2014. As part of the Facebook family of companies,
       WhatsApp receives information from, and shares information with, this family of companies. We may
       use the information we receive from them, and they may use the information we share with them, to
       help operate, provide, improve, understand, customize, support, and market our Services and their
       offerings. This includes helping improve infrastructure and delivery systems, understanding how our
       Services or theirs are used, securing systems, and fighting spam, abuse, or infringement activities.
       Facebook and the other companies in the Facebook family also may use information from us to
       improve your experiences within their services such as making product suggestions (for example, of
       friends or connections, or of interesting content) and showing relevant offers and ads. However, your
       WhatsApp messages will not be shared onto Facebook for others to see. In fact, Facebook will not use
       your WhatsApp messages for any purpose other than to assist us in operating and providing our
       Services.

       Learn more about the Facebook family of companies and their privacy practices by reviewing their
       privacy policies.



       Assignment, Change Of Control, And Transfer

       All of our rights and obligations under our Privacy Policy are freely assignable by us to any of our
       affiliates, in connection with a merger, acquisition, restructuring, or sale of assets, or by operation of
       law or otherwise, and we may transfer your information to any of our affiliates, successor entities, or
       new owner.



       Managing Your Information


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                        15/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 17 of 49

       If you would like to manage, change,
    https://www.whatsapp.com/legal?eea=0              limit, or delete your information,
                                                                                   Go APRwe allow
                                                                                             MAY you
                                                                                                  OCTto do that through
                                                                                                               👤 ⍰        ❎
            WhatsApp
      the following
   10 captures      tools:Legal Info                                                       30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                           2018 2019 2020       ▾ About this capture

              Services Settings. You can change your Services settings to manage certain information available
              to other users. You can manage your contacts, groups, and broadcast lists, or use our block feature
              to manage the users with whom you communicate.

              Changing Your Mobile Phone Number, Profile Name and Picture, and Status Message. You must
              change your mobile phone number using our in-app change number feature and transfer your
              account to your new mobile phone number. You can also change your profile name, profile
              picture, and status message at any time.

              Deleting Your WhatsApp Account. You may delete your WhatsApp account at any time (including
              if you want to revoke your consent to our use of your information) using our in-app delete my
              account feature. When you delete your WhatsApp account, your undelivered messages are
              deleted from our servers as well as any of your other information we no longer need to operate
              and provide our Services. Be mindful that if you only delete our Services from your device without
              using our in-app delete my account feature, your information may be stored with us for a longer
              period. Please remember that when you delete your account, it does not affect the information
              other users have relating to you, such as their copy of the messages you sent them.



       Law And Protection

       We may collect, use, preserve, and share your information if we have a good-faith belief that it is
       reasonably necessary to: (a) respond pursuant to applicable law or regulations, to legal process, or to
       government requests; (b) enforce our Terms and any other applicable terms and policies, including for
       investigations of potential violations; (c) detect, investigate, prevent, and address fraud and other illegal
       activity, security, or technical issues; or (d) protect the rights, property, and safety of our users,
       WhatsApp, the Facebook family of companies, or others.



       Our Global Operations

       You agree to our information practices, including the collection, use, processing, and sharing of your
       information as described in this Privacy Policy, as well as the transfer and processing of your
       information to the United States and other countries globally where we have or use facilities, service
       providers, or partners, regardless of where you use our Services. You acknowledge that the laws,
       regulations, and standards of the country in which your information is stored or processed may be
       different from those of your own country.



       Updates To Our Policy

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              16/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 18 of 49

       We may amend or update our
    https://www.whatsapp.com/legal?eea=0      Privacy Policy. We will provide you Go
                                                                                  notice
                                                                                      APRof amendments
                                                                                            MAY OCT    to this👤Privacy
                                                                                                                 ⍰          ❎
      Policy,WhatsApp
   10 captures           Legal
              as appropriate,   Info
                              and                                                              30
                                  update the “Last Modified” date at the top of this Privacy Policy. Your               f 🐦
       continued use of our Services confirms your acceptance of our
   17 Jul 2018 - 3 Jan 2020
                                                                                  Privacy2018  2019 2020
                                                                                          Policy, as amended. ▾
                                                                                                              If About
                                                                                                                 you this
                                                                                                                       docapture
       not agree to our Privacy Policy, as amended, you must stop using our Services. Please review our
       Privacy Policy from time to time.



       Contact Us

       If you have questions about our Privacy Policy, please contact us.

       WhatsApp Inc.
       Privacy Policy
       1601 Willow Road
       Menlo Park, California 94025
       United States of America




       WHATSAPP INC., THE EU-U.S. PRIVACY SHIELD AND THE SWISS-
       U.S. PRIVACY SHIELD

       WhatsApp Inc. (“WhatsApp”) has certified to the EU-U.S. Privacy Shield Framework and the Swiss-U.S.
       Privacy Shield Framework with the U.S. Department of Commerce regarding the collection and
       processing of personal data from our business partners in the European Union and Switzerland
       (“Partners”) in connection with the products and services described in the Scope section below and in
       our certification. To learn more about the Privacy Shield program please visit www.privacyshield.gov.

       Scope: WhatsApp adheres to the Privacy Shield Principles for the following areas of our business
       (collectively the “Partner Services”):

              WhatsApp Business Products: WhatsApp creates apps, services, features, APIs, software, or website
              that enable businesses to interact with users of WhatsApp's products and services (“Business
              Products”). Partners (the data controllers) may submit personal information about their customers
              to WhatsApp using WhatsApp's Business Products. While Partners decide what information to
              submit, it typically includes things like customer phone numbers and other information under the
              Partner's control. For more information, customers may contact the relevant Partner. WhatsApp
              uses the personal data provided by Partners to provide Business Products in accordance with the
              terms applicable to the relevant Business Product and otherwise with the Partners' instructions.
              WhatsApp works with its Partners to ensure that individuals are offered appropriate choices in
              accordance with the Privacy Shield Principles.



https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                               17/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 19 of 49

       Access. Within the scope of our
    https://www.whatsapp.com/legal?eea=0        authorization to do so, and in accordance
                                                                                 Go APR with
                                                                                          MAY our
                                                                                               OCTcommitments
                                                                                                          👤 ⍰               ❎
      underWhatsApp      Legal
             Privacy Shield,
   10 captures               WhatsApp                                                       30
                               Info will work with its Partners to provide individuals access to personalf                   🐦
       data about them that WhatsApp holds on behalf of its Partners.
   17 Jul 2018 - 3 Jan 2020                                                           2018 will
                                                                                  WhatsApp 2019also take
                                                                                                 2020      reasonable
                                                                                                             ▾ About this capture

       steps to enable individuals, either directly or in connection with the Partners, to correct, amend, or
       delete personal data that is demonstrated to be inaccurate.

       Third Parties. WhatsApp may transfer data within the Facebook family of companies and to third
       parties, including service providers and other partners. In accordance with the Privacy Shield Principles,
       WhatsApp is liable for any processing of personal data by such third parties that is inconsistent with
       the Privacy Shield Principles unless WhatsApp was not responsible for the event giving rise to any
       alleged damage.

       Legal Requests. Personal data that is transferred to us by our Partners may be subject to disclosure
       pursuant to legal requests or other judicial and government process, such as subpoenas, warrants, or
       orders. For more information, review the “Law and Protection” section of the WhatsApp Privacy Policy.

       Enforcement. WhatsApp's compliance with the Privacy Shield Principles is subject to the investigatory
       and enforcement powers of the U.S. Federal Trade Commission.

       Questions and Disputes. Please contact us with any questions or concerns relating to our Privacy
       Shield certification. You have the option to resolve any applicable disputes you have with us in
       connection with our certification through TrustArc, an alternative dispute resolution provider based in
       the United States. You can contact TrustArc through their website. In certain circumstances, the Privacy
       Shield Framework provides the right to invoke binding arbitration to resolve complaints not resolved
       by other means, as described in Annex I to the Privacy Shield Principles. Additionally, as part of the
       Privacy Shield Framework, the U.S. State Department Senior Coordinator serves as the Ombudsperson
       to facilitate the processing of requests relating to national security access to data transmitted from the
       EU or Switzerland to the U.S.

       For more information about WhatsApp's privacy practices please review our Privacy Policy.




       Intellectual Property Policy: Your Copyrights and Trademarks

       WhatsApp Inc. ("WhatsApp," "our," "we," or "us") is committed to helping people and organizations
       protect their intellectual property rights. Our users agree to our Terms of Service ("Terms") by installing,
       accessing, or using our apps, services, features, software, or website (together, "Services"). Our Terms
       do not allow our users to violate someone else's intellectual property rights when using our Services,
       including their copyrights and trademarks.

       As explained in more detail in our Privacy Policy, we do not retain our users' messages in the ordinary
       course of providing our Services. We do, however, host our users' account information, including our
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                                18/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 20 of 49

       users' profile picture, profile name,
    https://www.whatsapp.com/legal?eea=0            or status message, if they decide
                                                                                   Go toAPR
                                                                                         include
                                                                                             MAYthem
                                                                                                  OCT as part of their
                                                                                                               👤 ⍰         ❎
            WhatsApp
      account
   10 captures          Legal Info
               information.                                                                 30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                           2018 2019 2020        ▾ About this capture


       Copyright

       To report copyright infringement and request that WhatsApp remove any infringing content it is
       hosting (such as a WhatsApp user's profile picture, profile name, or status message), please email a
       completed copyright infringement claim to ip@whatsapp.com (including all of the information listed
       below). You can also mail a complete copyright infringement claim to WhatsApp's copyright agent:

       WhatsApp Inc.
       Attn: WhatsApp Copyright Agent
       1601 Willow Road
       Menlo Park, California 94025
       United States of America
       ip@whatsapp.com

       Before you report a claim of copyright infringement, you may want to send a message to the relevant
       WhatsApp user you believe may be infringing your copyright. You may be able to resolve the issue
       without contacting WhatsApp.



       Trademark

       To report trademark infringement and request that WhatsApp remove any infringing content it is
       hosting, please email a complete trademark infringement claim to ip@whatsapp.com (including all of
       the information listed below).

       Before you report a claim of trademark infringement, you may want to send a message to the relevant
       WhatsApp user you believe may be infringing your trademark. You may be able to resolve the issue
       without contacting WhatsApp.



       What to include in your copyright or trademark infringement claim to
       WhatsApp

       Please include all of the following information when reporting a copyright or trademark infringement
       claim to WhatsApp:

              Your complete contact information (full name, mailing address, and phone number). Note that we
              regularly provide your contact information, including your name and email address (if provided),
              the name of your organization or client who owns the rights in question, and the content of your

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                               19/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 21 of 49

             report to the person whose
    https://www.whatsapp.com/legal?eea=0        content you are reporting. You may
                                                                                Go wish
                                                                                    APRtoMAY
                                                                                          provide
                                                                                              OCT a professional or
                                                                                                           👤 ⍰         ❎
            WhatsApp
           business
   10 captures      emailLegal Info
                          address where you can be reached.                              30                       f 🐦
   17 Jul 2018 - 3 Jan 2020                                                         2018 2019 2020      ▾ About this capture
              A description of the copyrighted work or trademark that you claim has been infringed.

              A description of the content hosted on our Services that you claim infringes your copyright or
              trademark.

              Information reasonably sufficient to permit us to locate the material on our Services. The easiest
              way to do this is by providing us the phone number of the individual who has submitted the
              infringing content on our Services.

              A declaration that:

                      You have a good faith belief that use of the copyrighted or trademarked content described
                      above, in the manner you have complained of, is not authorized by the copyright or
                      trademark owner, its agent, or the law;

                      The information in your claim is accurate; and

                      You declare, under penalty of perjury, that you are the owner or authorized to act on behalf of
                      the owner of an exclusive copyright or trademark that is allegedly infringed.

              Your electronic signature or physical signature.




       Cookies

       About cookies

       A cookie is a small text file that a website you visit asks your browser to store on your computer or
       mobile device.



       How we use cookies

       We use cookies to understand, secure, operate, and provide our Services. For example, we use cookies:

              to provide WhatsApp for web and desktop and other Services that are web-based, improve your
              experiences, understand how our Services are being used, and customize our Services;

              to understand which of our FAQs are most popular and to show you relevant content related to
              our Services;

              to remember your choices, such as your language preferences, and otherwise to customize our
              Services for you; and


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           20/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 22 of 49

             to rank the FAQs on our website
    https://www.whatsapp.com/legal?eea=0               based on popularity, understand mobile
                                                                                  Go APR  MAY versus
                                                                                                OCT desktop users of
                                                                                                            👤 ⍰         ❎
            WhatsApp
           our
   10 captures         Legal
               web-based Services,                                                        30
                              Infoor understand popularity and effectiveness of certain of our web pages.
                                                                                                      f                  🐦
   17 Jul 2018 - 3 Jan 2020                                                          2018 2019 2020      ▾ About this capture


       How to control cookies

       You can follow the instructions provided by your browser or device (usually located under "Settings" or
       "Preferences") to modify your cookie settings. Please note that if you set your browser or device to
       disable cookies, certain of our Services may not function properly.




       WhatsApp Payments

       WhatsApp Payments Terms of Service
       Last modified: July 9, 2018 (archived versions)

       WhatsApp Inc. (“WhatsApp,” “our,” “we,” or “us”) provides messaging, Internet calling, and other
       services to users around the world, including the ability to send and receive payments through
       designated payment service providers (“PSPs”) in India (“Payments”) via Unified Payments Interface
       (“UPI”) developed by the National Payments Corporation of India (“NPCI”). Payments is a “Service” as
       defined in the WhatsApp Terms of Service (“Terms”), and the following WhatsApp Payments Terms of
       Service (“Payments Terms”) supplement the Terms and apply to your use of Payments. You agree to the
       Payments Terms when you use Payments.



       About our payment service

       Our Role. Payments is a service we provide through, and in coordination with, designated PSPs. We
       provide a convenient platform that enables you to submit transaction instructions to PSPs for
       processing via UPI. We are not a licensed financial institution, do not receive, transfer, or store any
       funds in connection with Payments, and are not responsible for UPI service interruptions or acts or
       omissions of PSPs or banks including the payment, settlement, and clearance of funds. You have a
       separate relationship with your bank regarding your bank account, and WhatsApp has no affiliation
       with your bank in this respect.

       PSP’s Role. When you send or receive funds through Payments, a designated PSP receives the
       instructions and processes the transaction via UPI. By using Payments, you will also need to agree to
       the PSP’s terms and privacy policy, which will be presented to you when you first use Payments. The
       PSP’s terms and privacy policy are also available here. These Payments Terms govern the relationship
       between WhatsApp and you regarding Payments, and the PSP’s terms govern the relationship between
       the PSP and you.
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                            21/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 23 of 49

       Eligibility. To use Payments, you
    https://www.whatsapp.com/legal?eea=0        must use a phone number with the
                                                                              Go country
                                                                                  APR MAYcodeOCT
                                                                                              for India and👤have
                                                                                                              ⍰a    ❎
      bank WhatsApp
            account withLegal
   10 captures           a bankInfo                                                    30
                                that supports UPI. The phone number you use for our Services must be f
                                                                                                     the             🐦
                                                                                  2018 2019 2020
       same phone number linked to your bank account used for Payments.
   17 Jul 2018 - 3 Jan 2020                                                                          ▾ About this capture


       Registration and UPI PIN setup. You must be an owner of the bank account you use to send and
       receive funds through Payments. After you provide information to confirm your mobile banking
       account, WhatsApp facilitates creation of a UPI ID (virtual payment address) that is associated with your
       WhatsApp account. Since your transaction instructions are processed via UPI, you must have a UPI PIN
       to send payments. We will ask you to create a UPI PIN to send payments if you do not already have
       one for your bank account.

       Age. You must be at least 18 years old to use Payments.

       Credits. We may credit your bank account for purposes including rewards and special offers. Our
       affiliate WhatsApp Application Services Private Limited provides such credits on our behalf.

       Fees and Taxes. You must pay any applicable fees arising out of your use of Payments, including any
       overdraft, transaction, or other fees charged by your bank, PSPs, or WhatsApp. You must comply with
       applicable tax laws in connection with your use of Payments, including reporting and payment of any
       taxes related to transactions made through Payments and any income received from such transactions.
       WhatsApp is not responsible for withholding, collecting, reporting, or remitting any sales, use, value
       added, or other tax arising from any transaction you complete using Payments.



       Privacy policy and user data

       WhatsApp cares about your privacy. Our Privacy Policy applies to your use of Payments. Because
       additional information will be collected and processed when you use Payments, the WhatsApp
       Payments Privacy Policy also applies to your use of Payments. The WhatsApp Payments Privacy Policy
       describes additional information practices applicable to Payments, including the types of information
       we receive and collect from you when you use Payments and how we use and share this information. If
       you use Payments, you agree to our data practices, including the collection, use, processing, and
       sharing of your information as described in our Privacy Policy and our Payments Privacy Policy.



       Use of payments

       Payment Amount. You are responsible for the total payment amount. You must ensure that you have
       sufficient funds in your bank account before executing any transaction through Payments. Your
       payment will not be sent if the PSP or your bank determines that your bank account lacks sufficient
       funds to cover the entire transaction amount.




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                        22/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 24 of 49

       Acceptable Use of Payments. You
    https://www.whatsapp.com/legal?eea=0           must access and use PaymentsGo
                                                                               onlyAPR
                                                                                    for legal,
                                                                                         MAY authorized,
                                                                                               OCT       and
                                                                                                           👤   ⍰❎
            WhatsApp
      acceptable
   10 captures         Legal
                 purposes, according                                                    30
                              Info to our Terms and posted policies including merchant policies as may
                                                                                                    f           🐦
       be published from time to time. A PSP or WhatsApp may impose limits2018
   17 Jul 2018 - 3 Jan 2020                                                     2019 2020
                                                                            on your ability to send  or this capture
                                                                                                 ▾ About

       receive payments, including transaction limits. A PSP or WhatsApp may also cancel any transaction if
       we believe the transaction violates the Terms, these Payments Terms, posted policies, or the PSP’s
       terms.

       Purchase Transactions. If you use Payments to pay for goods or services, you agree to make legitimate
       purchases and to be bound by any terms of the sale. We have no responsibility for any goods or
       services purchased using Payments, including for any claims, damages, losses, liabilities, chargebacks or
       disputes associated with transactions. WE MAKE NO WARRANTIES OF ANY KIND, EXPRESS OR
       IMPLIED, WITH RESPECT TO ANY PRODUCTS OR SERVICES PURCHASED USING PAYMENTS.

       Payments Transactions Are Final. Once you submit a payment, it is final. WhatsApp does not provide
       refunds or facilitate chargebacks. WhatsApp is not liable for unauthorized transactions. We assume no
       responsibility for the underlying transaction of funds, or the actions or identity of any transfer recipient
       or sender.

       Business Use of Payments. If you are a business and use our Services, you must comply with all
       applicable laws associated with your use of our Services, including Payments. You must clearly disclose
       any applicable terms and fees to your customers and promptly fulfill any goods or services you sell
       using Payments in accordance with any sale terms and applicable laws. WhatsApp is not a party to the
       transaction.



       Other

              If there is any conflict between these Payments Terms and the Terms, these Payments Terms
              control solely with respect to your use of Payments and only to the extent of the conflict.

              We may amend or update these Payments Terms. We will provide you notice of amendments to
              our Payments Terms, as appropriate, and update the “Last Modified” date at the top of our
              Payments Terms. Your continued use of Payments confirms your acceptance of our Payments
              Terms, as amended. If you do not agree to our Payments Terms, as amended, you must stop using
              Payments. Please review our Payments Terms from time to time.


       WhatsApp Payments Privacy Policy
       Last modified: July 9, 2018 (archived versions)

       The WhatsApp Privacy Policy helps explain our information practices. Our Services may include
       enabling you to send and receive payments (“Payments”), a service we provide through, and in
       coordination with, designated payment service provider (“PSP”) banks.
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                       23/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 25 of 49

       This Payments Privacy Policy helps
    https://www.whatsapp.com/legal?eea=0           explain our information practices
                                                                                  Go when
                                                                                      APR you
                                                                                           MAYuse Payments. We
                                                                                                OCT
                                                                                                            👤 use
                                                                                                               ⍰       ❎
      all theWhatsApp
   10 capturesinformationLegal Info
                          we have                                                         30
                                  to operate, provide, improve, understand, customize, support, and market
                                                                                                      f 🐦
                                                                               2018 2019 2020
       our Services. PSPs may also collect, use, and share information as set forth
   17 Jul 2018 - 3 Jan 2020
                                                                                    in their privacy policies,
                                                                                                      ▾ About thisincapture

       conjunction with helping to provide Payments to you.

       This Payments Privacy Policy supplements our Privacy Policy, which applies to the use of our Services,
       including Payments. Please also see WhatsApp’s Terms of Service (“Terms”), which describe the terms
       under which you use our Services including Payments, and the WhatsApp Payments Terms of Service
       (“Payments Terms”), which supplement the Terms, govern your use of Payments, and describe Payments
       in more detail. Please read all of these documents carefully.



       Information We Collect

       In addition to what is described in our Privacy Policy, we receive information when we provide
       Payments.


       Information You Provide

              Registration and BHIM UPI PIN Setup Information. When you register to use Payments, you
              provide your bank’s name and confirm the bank account for use with Payments. If you do not have
              a BHIM UPI PIN already for your bank account, you can set one using your partial debit card
              number, expiry date, PIN (if required by your bank), and bank-issued one-time password (OTP) to
              set up a BHIM UPI PIN. We do not retain Customer Payment Sensitive Data (partial debit card
              number, expiry date, PIN, OTP, or BHIM UPI PIN). WhatsApp does not have access to the BHIM UPI
              PIN because it is encrypted by Common Library (CL) software provided by National Payment
              Corporation of India.

              Payment Transaction Information. When you send, receive, or request payments, you provide or
              confirm transaction information such as the receiver’s name and BHIM UPI ID (virtual payment
              address), and payment amount. To authorize every payment you make, you need to use your
              BHIM UPI PIN. This payment transaction information is handled securely. WhatsApp messages
              sent with payments are delivered once the transaction has processed and are treated as described
              in our Privacy Policy.


       Automatically Collected Information

              Information To Enable Payments. We collect information when you send, receive, or request a
              payment, including the date and time and reference transaction number. When the sender makes
              a payment to a WhatsApp contact, we collect the sender and receiver’s names and BHIM UPI IDs.


       Information We Receive From Service Providers, PSPs, And NPCI


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                          24/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 26 of 49

             Service Providers. We work
                                    with service providers to help usGo
    https://www.whatsapp.com/legal?eea=0                             operate,
                                                                        APR provide,
                                                                              MAY OCTimprove, 👤 ⍰
                                                                                                                          ❎
            WhatsAppcustomize,
           understand,
   10 captures         Legal Info                                                          30
                                support, and market Payments; provide customer support; and keep our
                                                                                                  f                        🐦
              system safe and secure. For example, we work with companies
   17 Jul 2018 - 3 Jan 2020
                                                                                  to 2018
                                                                                      assist2019
                                                                                             with 2020
                                                                                                  customer ▾
                                                                                                           support,
                                                                                                             About this capture

              and we receive information from them that you provide over the phone or email.

              PSP Banks and NPCI. We enable Payments by working with multiple PSP banks and the National
              Payments Corporation of India (NPCI) to facilitate the movement of funds between the sender and
              receiver’s bank accounts. They provide us information about you or your Payments transactions in
              certain circumstances; for example, we may receive information about you or your transactions
              from a PSP such as information to confirm your registration, the payment sender or receiver’s
              name, account status and balance sufficiency, transaction reference IDs, risk or fraud alerts, and
              the like. BHIM UPI transaction information is stored in encrypted format. Please note that the PSP
              or NPCI’s terms and privacy policies will govern your use of its services.



       How We Use Information

       We use all the information we have to operate, provide, improve, understand, customize, support, and
       market our Services. This includes using the information to provide Payments and customer support, to
       protect you and others using our Services from fraud, abuse, or other misconduct, and to review your
       account activity to determine whether you continue to meet our Terms and Payments Terms. WhatsApp
       works with the other Facebook Companies to provide Payments, including to send payment
       instructions to PSPs.



       Information You And We Share

       In addition to what is described in our Privacy Policy, you share your information when you use
       Payments, and we share your information to help us operate, provide, improve, understand, customize,
       support, and market Payments.

              Payment Senders And Recipients. You and people with whom you send or receive payments may
              store or reshare your BHIM UPI ID, name, or transaction information with others on or off our
              Services.

              Service Providers. In conformance with our relationship with PSPs, WhatsApp works with service
              providers including Facebook. To send payment instructions to PSPs; maintain your transaction
              history; provide customer support; improve, understand, customize, support, and market
              Payments; and keep our Services safe and secure, including to detect, prevent, or otherwise
              address fraud, safety, security, abuse, or other misconduct, we share information we collect under
              this Payments Privacy Policy with service providers including Facebook. Facebook will have no
              access to encrypted BHIM UPI transaction information in clear format. When we share information
              with service providers, we require them to use your information on our behalf in accordance with
              our instructions and terms.

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              25/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 27 of 49

             PSP Banks and NPCI. We share
    https://www.whatsapp.com/legal?eea=0             information with PSPs and NPCI
                                                                                Go to helpMAY
                                                                                    APR    us operate
                                                                                               OCT    Payments.
                                                                                                          👤 ⍰   The
                                                                                                                    ❎
            WhatsApp
           PSP
   10 captures and NPCILegal
                        receiveInfo                                                      30
                                 transaction information such as payment amount and BHIM UPI IDs, sof
                                                                                                    they🐦
   17 Jul 2018 - 3 Jan 2020                                                  2018 2019
              can facilitate the movement of funds between the sender’s and receiver’s bank accounts.
                                                                                         2020         Please
                                                                                                  ▾ About this capture

              note that when you use PSP and NPCI services, their own terms and privacy policies will govern
              your use of those services.



       Managing And Deleting Your Information

       If you would like to manage, change, limit, or delete your Payments information, we allow you to do
       that through your payment settings or by deleting your WhatsApp account. With your payment
       settings, you may register additional bank account(s), deregister existing bank account(s) from your
       BHIM UPI ID, change the PSP bank, and clear your transaction history. When you delete your
       WhatsApp account, your bank account will be deregistered from your BHIM UPI ID automatically.



       Updates To Our Policy

       We will notify you before we make changes to this Payments Privacy Policy and give you the
       opportunity to review the revised Payments Privacy Policy before you choose to continue using
       Payments.


       PSP Terms and Privacy Policy

       ICICI Bank's Payment Service Terms

       These terms and conditions ("Terms") apply to and regulate the provision of a Unified Payments
       Interface Service–based electronic fund transfer and fund collection facility provided by ICICI Bank to its
       Users through the application owned and maintained by WhatsApp ("Facility") subject to the Terms
       herein specified.

       The User may apply for the Facility by installing the WhatsApp mobile application on their device and
       completing a one-time activation/registration for the Facility. The User will have an option to set a
       virtual payment address ("VPA") by linking an Account maintained with any bank in India through a
       one-time registration process defined and standardised by NPCI/ICICI Bank and then start transacting.
       The process of registration is:

              WhatsApp customers need to select their bank followed by the account they want to link.
              Thereafter, they need to enter the last six digits of their debit card number along with the expiry
              details to create a VPA.

              By applying for and accessing the Facility, the User accepts these terms, which shall govern the
              provision of the Facility by ICICI Bank. The Terms shall be in addition to and not in derogation of
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                       26/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 28 of 49

             the regulatory guidelines issued
    https://www.whatsapp.com/legal?eea=0              from time to time.          Go   APR MAY OCT          👤     ⍰❎
            WhatsApp Legal Info
   10 captures                                                                              30                    f 🐦
       1. Definitions
   17 Jul 2018 - 3 Jan 2020                                                            2018 2019 2020   ▾ About this capture


       In this document, the following words and phrases have the meanings set opposite them unless the
       context indicates otherwise. Words or expressions used in this form, but not specifically defined herein,
       shall have the respective meanings assigned to them by NPCI.

       1.1. "Account(s)" refers to the resident Indian savings and/or current bank account(s) held and
       maintained with any bank in India which is used for operations through the Facility.

       1.2. "User" means the applicant/remitter availing of the Facility through the Account(s) and satisfying
       the following conditions:

           a. has a valid mobile phone number;

           b. has downloaded the WhatsApp mobile application on the device; and

           c. has an Account(s).

       1.3. "ICICI Bank" means ICICI Bank Limited, a company incorporated under the Companies Act, 1956,
       and licensed as a bank under the Banking Regulation Act, 1949, and having its corporate office at ICICI
       Bank Towers, Bandra Kurla Complex, Mumbai 400 051 (which expression shall, unless it be repugnant to
       the subject or context thereof, include its successors and assigns).

       1.4. "NPCI UPI System" means the switch and related equipment and software owned by NPCI to
       provide the UPI-based fund transfer and funds collection facility including the National Financial
       Switch.

       1.5. "Payment Order" means an unconditional instruction issued by the User through the WhatsApp
       Platform to effect a fund transfer for a certain sum of money expressed in Indian rupees, to the
       designated account of a designated beneficiary by debiting the Account(s) of the User.

       1.6. "PSP (Payment Service Provider)" refers to banks which are allowed to acquire Users and provide
       payment services to Users and entities.

       1.7. "UPI" refers to the Unified Payments Interface Service offered by NPCI in collaboration with its
       member banks.

       1.8. "WhatsApp" means WhatsApp Inc., a Delaware, United States, company with offices at 1601 Willow
       Road, Menlo Park, CA 94025. It provides smartphone users with certain services via their phone's
       Internet connection, including sending and receiving messages, calls, photos, videos, documents and
       voice messages.


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           27/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 29 of 49

       1.9. "WhatsApp Application" means
    https://www.whatsapp.com/legal?eea=0             WhatsApp's existing and future
                                                                                 Go applications
                                                                                      APR MAY andOCT services including
                                                                                                               👤 ⍰        ❎
            WhatsApp
      its business
   10 captures           Legal Info
                   and consumer  applications and services for mobile, desktop and web.    30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                           2018 2019 2020       ▾ About this capture

       2. Applicability of Terms

       The User hereby acknowledges that the User has read and understood the Terms and agrees that the
       rights and obligations provided therein and in these Terms insofar as it relates to the User shall be
       binding on the User with regard to every Payment Order issued by them for execution in the NPCI UPI
       System. The User understands and agrees that nothing in terms of availing the Facility shall be
       construed as creating any contractual or other rights against NPCI or any participant in the NPCI UPI
       System other than ICICI Bank. Notwithstanding anything contained herein, all terms and conditions
       stipulated by ICICI Bank in connection with the Account(s) shall continue to apply. The Privacy Policy
       and Customer Rights Policy of ICICI Bank shall continue to apply on the Users. These Terms and
       Conditions are in addition to any terms and conditions that WhatsApp may prescribe for the use of its
       WhatsApp Application.

       3. Scope of the Facility

       The Facility offers an instant, 24x7, interbank electronic fund transfer or fund collection service to the
       customers of UPI member banks. Users can put in a request for fund transfers or respond to funds
       collection in a secure manner for any of their linked Account(s) as per the Terms, which may be
       changed by ICICI Bank as it deems fit.

       Rights and Obligations of the User

       3.1. The User shall be entitled, subject to Terms, to issue Payment Orders for execution by ICICI Bank.

       3.2. The Payment Order shall be issued by the User, in the form as prescribed by ICICI Bank, which is
       complete in all particulars. The User shall be responsible for the accuracy of the particulars given in the
       Payment Order for the Facility and shall be liable to compensate ICICI Bank for any loss arising on
       account of any error in the Payment Order.

       3.3. The User shall be bound by any Payment Order executed by ICICI Bank if ICICI Bank has executed
       the Payment Order in good faith and in compliance with the instructions given by the User on the
       WhatsApp Application.

       3.4. The User authorises ICICI Bank to act as a PSP and debit Account(s) as per instructions received by
       way of Payment Orders. The User understands that although multiple bank accounts can be linked with
       the Facility, debit/credit transactions can be done from the default account which is selected by the
       User before transactions until changed by the User for subsequent transactions. Each Account that may
       be linked with the UPI facility can be opened with a separate username. The User shall ensure
       availability of funds in their Account(s) towards the fulfillment of the Payment Order before/at the time
       of the execution of the Payment Order by ICICI Bank. The User hereby authorises ICICI Bank to debit
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              28/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 30 of 49

       the Account(s) of the User for any
    https://www.whatsapp.com/legal?eea=0          liability incurred by ICICI Bank on
                                                                                   Go behalf
                                                                                       APR of  theOCT
                                                                                             MAY  User for execution
                                                                                                               👤 ⍰of        ❎
            WhatsApp
      the Payment
   10 captures    OrderLegal
                        issuedInfo                                                              30
                               by the User. The User understands and agrees that once a fund collection
                                                                                                     f                       🐦
       request is accepted, the default account will automatically be
   17 Jul 2018 - 3 Jan 2020
                                                                                  credited2018
                                                                                           with 2019
                                                                                                such amounts
                                                                                                     2020    as
                                                                                                              ▾ may    becapture
                                                                                                                About this

       mentioned in the Payment Order. The User understands and agrees that such amounts once credited
       to the default account cannot be reversed by the User.

       3.5. The User agrees that the Payment Order shall become irrevocable when it is executed by ICICI
       Bank.

       3.6. The User agrees that they shall not be entitled to make any claim against Reserve Bank of India
       ("RBI") and/or National Payment Corporation of India ("NPCI") in respect to the Facility.

       3.7. The User shall provide correct beneficiary details to ICICI Bank at the time of availing the Facility.
       The User shall be solely responsible for entering wrong beneficiary details including but not limited to
       incorrect VPA, incorrect Aadhaar number or incorrect mobile number, due to which the funds are
       transferred to an incorrect beneficiary.

       3.8. The User shall not hold ICICI Bank responsible for any damage, claim or issue arising out of or in
       connection with any purchase of goods/services from merchants through Payment Orders issued by
       the Facility. The User understands and agrees that all such losses, damages and issues shall constitute a
       claim against such merchants.

       3.9. The User agrees that the Facility is offered in line with the RBI's guidelines on mobile banking
       which are subject to change from time to time.

       3.10. The User shall inform ICICI Bank immediately of any inquiry, question or issue raised by any
       authority including but not limited to any statutory authority or official regarding and relating to ICICI
       Bank, as well as expeditiously notify ICICI Bank of any show causes, seizure or similar action and
       provide copies of any notices, memos or correspondences received from such authority. The User shall
       not unilaterally file any response/reply to such an authority without the prior approval of and vetting
       by ICICI Bank.

       3.11. The User shall be solely liable for ensuring the availability of sufficient funds in the Account(s) at
       all times for the purpose of availing the Facility. The User agrees that in the event there are insufficient
       funds in the Account, ICICI Bank can decline the transaction instruction.

       4. Undertakings and Representations

       The User hereby undertakes, represents and warrants to ICICI Bank that:

       4.1. The role of ICICI Bank hereunder is limited to acting as a Payment Service Provider, which would
       include receiving from WhatsApp, bank information/data of the User for the purpose of (i) creation of


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                               29/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 31 of 49

       the VPA; and (ii) processing the
    https://www.whatsapp.com/legal?eea=0       transactions initiated by the User Go
                                                                                  usingAPR
                                                                                        the UPI
                                                                                            MAY Facility
                                                                                                 OCT as per
                                                                                                            👤     ⍰❎
            WhatsApp
      applicable
   10 captures   law. Legal Info                                                         30                       f 🐦
   17 Jul 2018 - 3 Jan 2020                                                        2018 2019 2020       ▾ About this capture

       4.2. The User shall be in compliance at all times with applicable laws regarding the use of the Facility
       and shall not use the Facility in violation of the applicable laws.

       5. General Terms

       5.1. The laws of India shall govern these terms and conditions and/or the operations in the Account(s)
       maintained with ICICI Bank. Any legal action or proceedings arising out of these Terms shall be brought
       in the courts or tribunals at Mumbai in India. ICICI Bank may, however, in its absolute discretion
       commence any legal action or proceedings arising out of these Terms in any other court, tribunal or
       other appropriate forum, and the User hereby consents to that jurisdiction.

       5.2. The clause headings in these Terms are only for convenience and do not affect the meaning of the
       relative clause.

       5.3. ICICI Bank may subcontract and employ agents to carry out any of its obligations hereunder.

       5.4. ICICI Bank has the absolute discretion to amend or supplement any of the Terms as stated herein at
       any time and will endeavour to give prior notice of 15 days for such changes wherever feasible. By
       using the new services, the User shall be deemed to have accepted the changed terms and conditions.

       5.5. Notices under these Terms may be given in writing by delivering them by hand, or on ICICI Bank's
       website www.icicibank.com, or by sending them by post to the last address given by the User and, in
       the case of ICICI Bank, to its corporate office address. In addition, ICICI Bank may also publish notices
       of general nature, which are applicable to all Users, in a newspaper or on its website at
       www.icicibank.com. Such notices will have the same effect as a notice served individually to each User.
       Notice and instructions will be deemed served 7 days after posting or upon receipt in the case of hand
       delivery, cable, telex or facsimile.

       5.6. Any provision of these Terms which is prohibited or unenforceable in any jurisdiction shall, as to
       such jurisdiction, be ineffective to the extent of prohibition or unenforceability but shall not invalidate
       the remaining provisions of these Terms or affect such provision in any other jurisdiction. ICICI Bank
       shall have the right of set-off and lien, irrespective of any other lien or charge, present as well as future
       on the deposits held in the Account(s) to the extent of all outstanding dues, whatsoever, arising as a
       result of the Facility extended to and/or used by the User.

       6. Sharing of Information

       6.1. The User irrevocably and unconditionally authorises ICICI Bank to access all the User's Account(s)
       and records for the purpose of providing the Facility. The User agrees that ICICI Bank and its affiliates
       (or their contractors) may hold and process their personal information and all other information

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           30/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 32 of 49

       concerning their Account(s) on
    https://www.whatsapp.com/legal?eea=0       computer or otherwise in connection
                                                                               Go with
                                                                                   APR the Facility
                                                                                         MAY  OCT as well as for
                                                                                                           👤 ⍰       ❎
            WhatsApp
      analysis,
   10 captures            Legal
                credit scoring   Info
                               and marketing.                                           30                      f 🐦
   17 Jul 2018 - 3 Jan 2020                                                       2018 2019 2020      ▾ About this capture

       6.2. The User hereby expressly consents to and permits ICICI Bank, its affiliates and all the parties
       involved in the payment system including but not limited to Payments System Providers, acquiring
       banks, partner banks, the issuer bank of the sender's funding account, the issuer bank of the
       beneficiary's bank account, NPCI and RBI to collect, store and share such information including but not
       limited to their personal information such as name, address, all transaction details carried out through
       the WhatsApp Platform or information with respect to third parties and the beneficiary including bank
       account number.

       6.3. In the event the User is a beneficiary, the User hereby consents ICICI Bank to permit the remitter to
       store their information including but not limited to bank account number for the purpose of sending
       the payments.

       6.4. The User understands and agrees that certain information collected by ICICI Bank, including
       information obtained from Payments System Providers, acquiring banks, partner banks, the issuer bank
       of the sender's funding account, the issuer bank of the beneficiary's bank account, NPCI and RBI or
       third parties, is shared between ICICI Bank and WhatsApp to provide the Facility. In addition, the User
       understands and agrees that ICICI Bank is required to share their personal information, such as name,
       email address and payment instrument details, with third parties for the purposes of processing
       transactions or for the use of the services to register their complaints. ICICI Bank will abide by NPCI
       guidelines and adhere to the customer dispute management process specified by NPCI.

       6.5. The User agrees and understands that the transaction will be recorded in the statement of account
       as given to the User by the User's bank. The User agrees that they shall not be entitled to dispute the
       correctness of the execution of the Payment Order or the amount debited to their Account(s) if they fail
       to report the discrepancy as per NPCI guidelines.

       7. Disclaimer of Liability

       7.1. ICICI Bank does not hold out any warranty and makes no representation about the quality of the
       Facility. The User agrees and acknowledges that ICICI Bank shall not be liable and shall in no way be
       held responsible for any damages whatsoever, whether such damages are direct, indirect, incidental or
       consequential and irrespective of whether any claim is based on loss of revenue, interruption of
       business, transaction carried out by the User and processed by ICICI Bank, information provided or
       disclosed by ICICI Bank regarding Account(s) or any loss of any character or nature whatsoever and
       whether sustained by the User or by any other person. While ICICI Bank shall endeavour to promptly
       execute and process the transactions as proposed to be made by the User, ICICI Bank shall not be
       responsible for any non-response or delay in responding due to any reason whatsoever, including due
       to failure of operational systems or any requirement of law. ICICI Bank shall not be liable for any loss,
       claim or damage suffered by the User and/or any other third party arising out of or resulting from
       failure of a UPI transaction on account of time-out transaction; i.e., where no response is received from
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                         31/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 33 of 49

       NPCI or the beneficiary bank to
    https://www.whatsapp.com/legal?eea=0       the transaction request and/or where
                                                                               Go mobile number
                                                                                    APR MAY OCT or account
                                                                                                        👤       ⍰❎
      numberWhatsApp
   10 captures           Legal Info
               of the beneficiary                                                     30
                                  does not exist. Further, ICICI Bank shall also not be liable for any loss,    f 🐦
                                                                           2018 2019 2020
       damage and/or claim arising out of or resulting from wrong beneficiary
   17 Jul 2018 - 3 Jan 2020
                                                                              details, mobile number  and/or
                                                                                                 ▾ About this capture

       account details being provided by the Customer. ICICI Bank shall, under no circumstance, be held liable
       to the User if Facility access is not available in the desired manner for reasons including but not limited
       to natural calamities, legal restraints, faults in the telecommunication network or network failure, or any
       other reason beyond the control of ICICI Bank.

       7.2. The User is responsible for the accuracy and authenticity of the Payment Order provided to ICICI
       Bank and the same, if in the form and manner prescribed by ICICI Bank, shall be considered to be
       sufficient to operate the UPI Facility. ICICI Bank shall not be required to independently verify the
       Payment Order. ICICI Bank has no liability if it does not or is unable to stop or prevent the
       implementation of any Payment Order issued by the User. Once a Payment Order is issued by the User,
       the same cannot be subsequently revoked by the User.

       7.3. ICICI Bank states that it has no liability or obligation to keep a record of the Payment Orders to
       provide information to the User or for verifying the Payment Orders. ICICI Bank shall refuse to comply
       with the Payment Orders without assigning any reason and shall not be under any duty to assess the
       prudence or otherwise of any Payment Order. ICICI Bank has the right to suspend the transactions with
       respect to the UPI Facility if it has reason to believe that the User's Payment Orders will lead to or
       expose to direct or indirect loss to ICICI Bank or may require an indemnity from the User before
       continuing to operate the UPI Facility.

       7.4. All Payment Orders, requests, directives, orders and directions, entered by the User, are based
       upon the User's decisions and are the sole responsibility of the User.

       7.5. Users shall not hold ICICI Bank responsible and/or liable in any manner whatsoever for any
       losses/damages/costs incurred by the User for creation of the VPA and/or
       initiating/processing/cancelling any transaction on the WhatsApp Platform.

       8. Fraud or Unauthorised Use

       ICICI Bank shall not be responsible for, and the User shall solely be responsible for, any unauthorised
       access or use of their personal or financial information through the WhatsApp Platform.

       9. Indemnity

       The User agrees, at their own expense, to indemnify, defend and hold harmless ICICI Bank against any
       claim, suit, action or other proceeding brought against ICICI Bank, to the extent that such claim, suit,
       action or other proceeding brought against ICICI Bank is based on or arises in connection with the use
       of the Facility with reference to:

           i. a violation of the Terms by the User;
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                      32/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 34 of 49

          ii. any deletions, additions, insertions
    https://www.whatsapp.com/legal?eea=0                 or alterations to, or any unauthorised
                                                                                    Go APR MAY  useOCT
                                                                                                    of, the Facility
                                                                                                                  👤 by⍰
                                                                                                                      the
                                                                                                                            ❎
            WhatsApp Legal Info
           User;
   10 captures                                                                               30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                            2018 2019 2020        ▾ About this capture
           iii. any misrepresentation or breach of representation or warranty made by the User contained herein;

           iv. any breach of any covenant or obligation to be performed by the User hereunder;

           v. any loss incurred by or threatened to be incurred by NPCI/RBI and/or any regulatory proceeding
              arising out of or in connection with the User's use of the Facility.

       10. Assignment

       ICICI Bank shall be entitled to sell, assign, securitise or transfer ICICI Bank's rights and obligations under
       these Terms and any security in favour of ICICI Bank (including all guarantee[s]) to any person of ICICI
       Bank's choice in whole or in part and in such manner and on such terms and conditions as ICICI Bank
       may decide. Any such sale, assignment, securitisation or transfer shall conclusively bind the User and all
       other persons. The User, their successors and assigns are bound by these Terms. However, the User
       shall not be entitled to transfer or assign any of their rights and obligations under these Terms.

       11. Termination and Suspension

       11.1. The User may request for termination of the UPI Facility anytime by giving a prior written notice
       of at least 15 days to ICICI Bank. The User will remain responsible for all the transactions made through
       the UPI Facility until the time of such termination.

       11.2. ICICI Bank may withdraw or terminate the UPI Facility anytime either entirely or with reference to
       a specific UPI Facility without assigning any reasons whatsoever. ICICI Bank may suspend or terminate
       the UPI Facility without prior notice if the User has breached any of these Terms.

       11.3. ICICI Bank may suspend or terminate the UPI Facility anytime without assigning any reason
       whatsoever without any prior notice upon the request of WhatsApp.

       12. Miscellaneous

       12.1. The laws of India shall govern these terms and conditions and/or the operations in the Account(s)
       maintained with ICICI Bank. Any legal action or proceedings arising out of these Terms shall be brought
       in the courts or tribunals at Mumbai in India.

       12.2. ICICI Bank has the absolute discretion to amend or supplement any of the Terms as stated herein
       at any time and will endeavour to give prior notice of 15 days for such changes wherever feasible. By
       using the new services, the User shall be deemed to have accepted the changed terms and conditions.
       Notices under these Terms may be given in writing by delivering them by hand, or on ICICI Bank's
       website www.icicibank.com, or by sending them by post to the last address given by the User and, in
       the case of ICICI Bank, to its corporate office address.


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                                33/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 35 of 49

       12.3. Notice and instructions will
    https://www.whatsapp.com/legal?eea=0         be deemed served 7 days after posting
                                                                                Go APR or MAY
                                                                                          upon OCT
                                                                                               receipt in the👤case
                                                                                                                 ⍰of    ❎
      hand WhatsApp      Legal
            delivery, cable,
   10 captures               telexInfo
                                   or facsimile.                                         30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                         2018 2019 2020       ▾ About this capture


       HDFC Bank's Payment Service Terms

       These terms and conditions shall be in addition to HDFC Bank Privacy Policy.

       To read HDFC Bank Privacy Policy, click here.

       The user of this HDFC Bank UPI facility (the “User”) should have his mobile number registered with the
       Bank and should have existing relationship with his/her Bank for availing this Facility/Service, using
       HDFC Bank UPI facility.

       The Facility/Service shall be made available only to the User satisfying the eligibility criteria and shall be
       provided at the sole discretion of HDFC Bank Ltd and may be discontinued by HDFC Bank Ltd at any
       time without notice.

       The User shall be solely responsible and liable:

           1. For the accuracy of any personal or other information provided for availing this Facility/Service.

           2. For Pay or Collect requests initiated through HDFC Bank UPI facility.

           3. To comply with the applicable laws, rules and regulations governing such funds transfers as
              stipulated by the Reserve Bank of India, from time to time.

           4. For all loss, cost and damage, if he/she has breached the terms and conditions contained herein
              and in the HDFC Bank Mobile Banking Policy.

       HDFC Bank Ltd shall not be held responsible and liable for any loss, cost and damage suffered by the
       User due to disclosure of his personal or other information to a third party including but not limited to
       statutory/regulatory authority by HDFC Bank Ltd for whatsoever reason, e.g., participation in any
       telecommunication or electronic clearing network in compliance with a legal or regulatory directive for
       statistical analysis or for credit rating or for any legal or regulatory compliance.



       Axis Bank's Payment Service Terms

       These terms and conditions form the contract between the User and the Axis Bank and shall be in
       addition to and not in derogation of other terms and conditions of any account or any other
       facility/services offered by the Bank and/or such other terms and conditions as may be specified by the
       Bank.

       Definitions:

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                            34/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 36 of 49

       The following words and phrases
    https://www.whatsapp.com/legal?eea=0         shall have the meanings set outGo
                                                                                herein
                                                                                    APRbelow
                                                                                         MAY inOCT
                                                                                                this document
                                                                                                           👤 unless
                                                                                                              ⍰       ❎
            WhatsApp
      repugnant
   10 captures          Legal Info
                to the context:                                                         30                       f 🐦
   17 Jul 2018 - 3 Jan 2020                                                        2018 2019 2020      ▾ About this capture

       “Application” or “Mobile Payment Application” refers to ‘WhatsApp’ mobile application by WhatsApp
       Inc that has tied up with Axis Bank for Unified Payment Interface services, which can be downloaded
       from Google Play store or Apple Store to avail UPI Services through this mobile application.

       "Account(s)" shall mean an operative bank account maintained by the User with Axis Bank or any other
       Bank Account which User provides at the time of authentication process of Application, for availing the
       facility which is being offered.

       “Account Holder” shall mean a User holding an Account, excluding Non-Resident Indians, Corporate
       Account Holders and Foreign Account Holders.

       "Bank" and "Axis Bank" shall mean Axis Bank Limited, a company incorporated under the Companies
       Act 1956 and licensed as a bank under Banking Regulation Act, 1949 having its registered office at
       'Trishul', 3rd Floor, Opposite Samartheshwar Temple, Law Garden, Ellis Bridge, Ahmedabad 380 006,
       Gujarat and corporate office at 131, Maker Towers 'F', Cuffe Parade, Mumbai. This term shall be
       inclusive of any 'affiliates' of the Bank which shall mean and include any company which a holding
       company or a subsidiary of ; a person under the control of the Bank or any person in which the bank
       has a direct/beneficial interest in more than 26% of the voting securities of such person. For the
       purpose of this definition, "control", when used with respect to any person would mean the power to
       direct the management and policies of such person, directly or indirectly, whether through the
       ownership of the vote carrying securities, by contract or otherwise howsoever; and "person" would
       mean a company, corporation, a partnership, trust or any other entity or organization or other body
       whatsoever.

       “Debit Card” shall means and includes the debit card issued to the User in respect of an operative bank
       account maintained by the User with Axis Bank or any other Bank Account.

       "Facility" shall mean UPI services offered by Axis Bank through WhatsApp to facilitate User to send or
       receive money via UPI platform, through said Mobile Application.

       “Issuing Bank” shall mean member banks participating in UPI network to identify the bank account
       basis Mobile No in case of customer is registering through any PSP App.

       "Mobile Phone Number" shall mean the mobile number of the User used during registration for
       Mobile/SMS Banking via secured channel with Axis Bank or for the Whatapp Application, for the
       purpose of availing the facility.

       “UPI” shall mean unified payments interface is a service provided by NPCI that allows transfer of money
       using a virtual address (UPI ID) that is mapped to an account of the User after complete validation.


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                          35/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 37 of 49

       “NPCI” shall mean National Payment
    https://www.whatsapp.com/legal?eea=0              Corporation of India. The funds
                                                                                  Go transfer
                                                                                      APR MAY feature
                                                                                                 OCT (send and ask) is
                                                                                                             👤 ⍰          ❎
            WhatsApp
      provided
   10 captures using UPILegal  Info
                         service of NPCI.                                                  30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                           2018 2019 2020       ▾ About this capture

       “Virtual Address/UPI ID” shall mean an identifier that can be uniquely mapped to an individual
       account using a translation service.

       "Mobile Phone" shall mean a valid SIM card enabled smartphone (running on Android operating
       system/ iphone), which is owned by the User.

       "Personal information" shall mean any information about the User provided by the User to and
       obtained by Axis Bank in relation to the facility.

       “Services” shall mean UPI services offered by Axis Bank under the said facility on WhatsApp
       Application.

       “Transaction” shall mean the fund transfer service to send or receive money; offered under the said
       facility on WhatsApp application.

       "User" shall mean an Account Holder of Axis Bank as well as any other person (not necessary having
       any relationship with Bank) who has downloaded the WhatsApp application and who is eligible for
       availing fund transfer facility to send or receive money offered thereunder.

       For the purposes of this document, all reference to the User in masculine gender shall be deemed to
       include feminine gender also.

       Eligibility and Usage:

       This facility shall be available to the Users in India, using WhatsApp Application. The User should have
       his/her Mobile Phone Number registered with his/her Bank for SMS/Mobile Banking and should have
       existing relationship with his/her Bank for availing this Facility and services thereunder, using this
       Mobile Payment Application.

       This facility shall be made available only to the Users satisfying the eligibility criteria and shall be
       provided at the sole discretion of Axis Bank and may be discontinued by Axis Bank at any time, with or
       without prior intimation to the Users.

       The User understands and accepts that any other condition that is a pre-requisite to access and avail
       benefits under the facility, including, but not limited to a Mobile Phone, Data Connection, etc. will be
       the sole responsibility of the User.

       Authorization:




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              36/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 38 of 49

       The User irrevocably and unconditionally
    https://www.whatsapp.com/legal?eea=0                    authorizes Axis Bank to Go
                                                                                    access
                                                                                        APRhis MAY
                                                                                               Account
                                                                                                   OCTand the Personal
                                                                                                               👤 ⍰        ❎
            WhatsApp
      details
   10 captures           Legalauthentication
              registered while Info                                                         30
                                             of Application for availing the service including effecting             f 🐦
                                                                                       2018 2019 2020
       Banking or other transactions of the user through the facility.
   17 Jul 2018 - 3 Jan 2020                                                                                ▾ About this capture


       The User expressly authorizes Axis Bank to disclose to the service provider or any other third party, all
       user information in its possession, as may be required by them to provide the services offered under
       the said facility to the User.

       The authority to record the User’s details and transaction details is hereby expressly granted by the
       User to Axis Bank. All records generated by the transactions arising out of use of the facility, including
       the time of the transaction, beneficiary details, etc; recorded shall be conclusive proof of the
       genuineness and accuracy of the transactions.

       The User authorizes Axis Bank to send any message or make calls to his mobile phone Number to
       enquire about any transaction/UPI related services and/or to inform him about any promotional offers
       including information regarding Banks' new products either now available or which Axis Bank may
       come up with in the future, or any other message that Axis Bank may consider appropriate to the User.

       The User irrevocably and unconditionally agrees that such calls or messages made by the Axis Bank
       and/or its Agents shall not be construed as a breach of the privacy of the User and shall not be
       proceeded against accordingly.

       The User authorizes Axis Bank to send any rejection message or to reject any transaction/request if it
       finds that the request sent by the User is not as per the requirements stipulated by Axis Bank for
       availing the facility.

       Axis Bank shall make all reasonable efforts to ensure that the User’s information is kept confidential.
       Axis Bank, however, shall not be responsible for any divulgence or leakage of confidential User
       information.

       The User expressly authorizes Axis Bank to carry out all request(s) or transaction(s) for and/or at the
       request of the User through WhatsApp Application and the Bank shall solely rely upon authenticity of
       any request or transaction purporting to have been received from the User through WhatsApp
       Application.

       Liabilities and Responsibilities of the User:

           1. The User shall be responsible for the accuracy of any information provided by the user for availing
              the facility.

           2. The USER shall be solely responsible for fund transfer through the Facility to the correct
              Beneficiary/ virtual address.



https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              37/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 39 of 49

          3. The USER shall also be responsible
    https://www.whatsapp.com/legal?eea=0                  to comply with the applicable Anti-Money
                                                                                   Go APR          Laundering👤
                                                                                             MAY OCT         (AML)
                                                                                                                ⍰        ❎
            WhatsApp
           norms
   10 captures         Legal
                 governing   Info
                           such                                                           30
                                funds transfers as stipulated by Reserve Bank of India (“RBI”), from timefto 🐦
                                                                                     2018 2019 2020
              time.
   17 Jul 2018 - 3 Jan 2020                                                                               ▾ About this capture


            4. The USER shall be liable and responsible in case of any discrepancy found in the information
              provided by him for availing fund transfer service offered through the Facility.

            5. If, the USER suspects that, there is an error in the information supplied by Axis Bank, he shall
              inform the Bank immediately. Axis Bank will endeavor to correct the error promptly wherever
              possible on a best effort basis.

            6. Axis Bank shall not be held liable for any loss suffered by the User due to disclosure of the
              Personal information to any service provider or third party by the Bank, for reasons including but
              not limited to participation in any telecommunication or electronic clearing network, in
              compliance with any legal or regulatory directives, for statistical analysis or for credit rating or for
              any legal or regulatory compliance.

            7. The User shall be solely responsible for protecting his Mobile Phone and UPI PIN for the use of the
              said facility.

            8. The User shall be liable to the Bank for any kind of unauthorized or unlawful use of any of the
              above mentioned UPI PIN /passwords or of the said Facility or any fraudulent or erroneous
              instruction given and any financial charges thus incurred shall be payable by the User only.

            9. The User accepts that for the purposes of the said facility any transaction emanating from the
              Mobile Phone Number registered by User shall be assumed to have initiated by the User at his
              sole discretion.

           10. It is the sole responsibility of the User to request the Bank, to suspend the said facility due to
              change of his registered Mobile Phone Number or if his Mobile Phone has been lost or has been
              allotted to some other person. The User shall also be obliged to inform the Bank, if any,
              unauthorized transaction in his account, of which he has knowledge.

           11. It shall be the responsibility of the User to update him with regard to any information relating to
              the services as Axis Bank may decide to provide certain other additional services under the said
              facility. Axis Bank shall not be responsible for any disregard on the part of the User.

           12. The User shall be liable for all loss if he has breached the Terms and conditions contained herein
              and other applicable terms & conditions or contributed or caused the loss by negligent actions or
              a failure on his part to advise Axis Bank within a reasonable time about any unauthorized access
              made on his behalf in the WhatsApp Application.

           13. The User shall agree that by use of this facility, he shall be deemed to have agreed to all the above
              terms and conditions and such terms and conditions shall be binding on me/us in the same
              manner as if he has agreed to the same in writing.

       Terms of Service:


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                             38/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 40 of 49

       These terms & conditions are in
    https://www.whatsapp.com/legal?eea=0        addition to the general terms & conditions
                                                                                Go APR MAY of any account or 👤
                                                                                                OCT          any ⍰
                                                                                                                       ❎
      otherWhatsApp       Legal
            facility provided
   10 captures                byInfo
                                 Axis Bank to its Customers.                               30                     f 🐦
   17 Jul 2018 - 3 Jan 2020                                                         2018 2019 2020      ▾ About this capture

           1. This facility is available only to the User having a bank account with any bank in India providing
              Immediate Payment Service (IMPS), Unified Payment Interface (UPI), including the fund transfer
              service.

           2. User shall register him for using the Application in such manner and through such modes as may
              be specified and made available by WhatsApp from time to time for availment and use of the
              facility.

           3. Axis Bank reserves right to charge the User for the services offered under the said facility.

           4. This facility will be provided by Axis Bank at the request of the User to enable them to Send or
              receive the funds through Application to the accounts/virtual addresses added in the application
              based on the instructions received from User.

           5. The User irrevocably and unconditionally authorizes Axis Bank to debit or Credit his account/s with
              the Bank registered for availing the facility.

           6. User agrees and confirms that, for the purpose of availing said facility :


              a) User has to add his existing account maintained with Axis Bank or any other Bank, to the
              WhatsApp application.


              b) User has to select the appropriate bank details where his account is maintained, for the purpose
              of adding his account to WhatsApp application. The account details will be fetched by the Axis
              Bank through WhatsApp application via NPCI and the Issuing bank, basis the mobile number
              shared by User. The account details which will be fetched by the Bank will be displayed to the User
              on his mobile phone/device in the message format.


              c) After the successful account addition in the WhatsApp application, the User has to only
              authorize the transaction by entering the UPI PIN set-up by said User. This UPI PIN will be set-up
              by the User directly on the NPCI library and Axis bank would not be able to read or copy such UPI
              PIN, thus Axis Bank will not be responsible to maintain the confidentiality of such UPI PIN.


              d) The User should act in good faith, exercise reasonable care and diligence and shall be solely
              responsible for the confidentiality of his account details, debit card details, OTP or UPI PIN and any
              personal information (“credentials”). User acknowledges, represents and confirms that his
              credentials are personal to the him and the User shall ensure at all times to keep the same
              confidential and Axis Bank shall not be held liable or responsible if the User discloses his
              credentials to any third party in any manner whatsoever or authorizes any third party to operate
              account or hands over his WhatsApp application or if third party changes/modifies the credentials
              in the WhatsApp application due to disclosure of such credentials by the User or misuse the
              WhatsApp application permitted by User to use by third party. Therefore, Bank shall not be held

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           39/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 41 of 49

             liable or responsible in case
    https://www.whatsapp.com/legal?eea=0         of any details including UPI PIN are
                                                                                  Go compromised
                                                                                      APR MAY OCTby User and/or
                                                                                                           👤 ⍰  any
                                                                                                                            ❎
            WhatsApp
           misuse
   10 captures         Legal Info
                  of WhatsApp                                                            30
                              application by third party, in such case the User shall be solely liable andf                  🐦
              responsible and shall keep Axis Bank indemnified, harmless and
   17 Jul 2018 - 3 Jan 2020                                                         2018 2019from
                                                                                   absolved        any
                                                                                                2020     liability
                                                                                                            ▾ Aboutinthis
                                                                                                                       this
                                                                                                                          capture

              regard including from any loss, cost, penalty, charges, including legal fees/charge, etc.; which may
              cause to Axis Bank due to User’s disclosure of his credentials/UPI PIN to any third party/person or
              any misused thereof in any manner whatsoever including the misuse of WhatsApp Application by
              third party. The User shall be solely liable and responsible, in case if the said details are
              compromised by the Customer knowingly or unknowingly, in any manner whatsoever.


              e) Axis Bank account and Non Axis Bank account details of the User would be stored at Axis Bank
              server database to the extant details provided by NPCI as per NPCI guidelines.


              f) User shall adhere to the limit set Axis Bank for making any fund transfer under said facility.

            7. For the purpose of availing this facility, User shall take all necessary precautions to prevent
              unauthorized and illegal use of Application and services offered through the facility.

            8. The User will be required to register his details including bank account details after downloading
              the Application to Send and Receive the funds through said facility.

            9. The User shall be responsible for maintaining the confidentiality of UPI PIN/ OTP/Code/password
              and for all the consequences which may arise due to use or misuse of such UPI
              PIN/OTP/Passcode/password.

           10. The User shall be responsible for any and all the fund transferred to beneficiaries at their request
              or received by using the Facility.

           11. The User shall be liable for all loss caused due to negligent actions or a failure on his part to
              immediately notify Axis Bank within a reasonable time, about any unauthorized use/access made
              on his behalf in the Application or misuse of UPI PIN/ OTP/Passcode/password or any other
              breach of security regarding the facility, of which he has knowledge.

           12. The User irrevocably and unconditionally authorise Axis Bank to access all the necessary
              information for effecting transactions executed by him under the facility and to share his necessary
              information with any third parties for the purpose of accepting/ executing such requests.

           13. Axis Bank may keep records of the transactions in any form it wishes. In the event of any dispute,
              Bank's records shall be binding as the conclusive evidence of the transactions carried out through
              the said Application.

           14. The User shall not to use/access the Facility and/or services offered through the same in any
              manner other than as authorized by Axis Bank. In case the User uses the Facility for any purpose
              which is illegal, improper or which is not authorised under these terms /other specified terms &
              conditions then Axis Bank has a right to take all reasonable measures in order to prevent such
              unauthorised access by the User.



https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                                40/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 42 of 49

        15. The User confirms that, any
    https://www.whatsapp.com/legal?eea=0        instructions given by him shall beGoeffected only after
                                                                                        APR MAY   OCT validation
                                                                                                               👤 of⍰     ❎
            WhatsApp
           authentic
   10 captures       UPI Legal Info
                         PIN/ OTP/Passcode/Password                                       30
                                                    used by him for availing such facility.                         f 🐦
   17 Jul 2018 - 3 Jan 2020                                                          2018 2019 2020       ▾ About this capture
           16. The User agrees and confirms that, once the transaction is materialized, any stop-payment
              instructions given by him cannot be accepted and acted upon by Axis Bank.

           17. The User shall while utilizing the facility ensure that:


              a) he has authority to access and avail the services obtained and shall duly comply with the
              applicable laws and regulations prevailing in India.


              b) he shall provide Axis Bank with such information and/or assistance as is required by Axis Bank
              for the performance of the service and /or any other obligations of Axis Bank under this facility.


              c) he shall be responsible for providing the accurate and authentic information/instructions to Axis
              Bank for availing such facility.


              d) he shall not at any time provide to any person, with any details of accounts held by him with
              Axis Bank or any other Bank including the passwords, account number which are allotted, from
              time to time.

           18. The User acknowledges that, the services offered by Axis Bank under the said facility shall be
              availed by him at his own risk and these risks shall include the following risks:


              a) any technical error, failure, glitch, network failure, legal restraints and other reasons which is
              beyond control of Axis Bank and for which Axis Bank shall not hold in any manner.


              b) any loss, damages, etc. that may be incurred/suffered by User, for the reason that the
              information provided by him turns out to be wrong/incorrect/inaccurate, for which Axis Bank shall
              not be held responsible.


              c) for the performance of any service provider/other third party/entity involved in the process; and
              for any loss or damage incurred or suffered by User for any error, defect, failure or interruption of
              the service or consequences arising out of delayed fund transfer.


              d) any loss of damage arising or resulting from delay in transmission delivery or non-delivery of
              online/electronic instructions or any mistake, omission or error in transmission or delivery thereof
              or in decrypting the instructions from any cause whatsoever or from its misinterpretation received
              or any act or even beyond control of Axis Bank.


              e) The technology for enabling the transfer of funds and the other services offered by Axis Bank
              under the said facility could be affected by virus or other malicious, destructive or corrupting code,
              program or macro. It may be possible that the said Application/ server of Axis Bank may require
              maintenance and during such time it may not be possible to process the request/transaction of
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                             41/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 43 of 49

             the Users. This could result
    https://www.whatsapp.com/legal?eea=0        in delays in the processing of instructions
                                                                                   Go APR or failure
                                                                                            MAY   OCTin the processing
                                                                                                               👤 ⍰           ❎
            WhatsApp
           of
   10 capturesinstructionsLegal
                           and other                                                       30
                                Info such failures and inability. User understand that Axis Bank disclaims f
                                                                                                           all                🐦
              and any liability, whether direct or indirect, whether arising out
   17 Jul 2018 - 3 Jan 2020
                                                                                    of2018  2019
                                                                                       loss or otherwise
                                                                                                  2020     arising out
                                                                                                              ▾ About this of
                                                                                                                           capture

              any failure or inability by the Bank to honour any User instruction for whatsoever reason.


              f) The User shall be entering his sensitive information, OTP or UPI PIN in NPCI library for
              authorizing any transaction initiated by the User and the final authorisation of any such
              transaction which will be done by the Issuing bank only after confirmation received from the
              Issuing bank from the User. User agrees and confirms that, he shall be alone responsible for
              use/disclosure of his details as mentioned herein, for initiating/authorizing any transaction
              through the Facility via NPCI and the Issuing bank and shall keep Axis Bank indemnified, harmless
              and absolved from any liability in this regard including from any loss, cost, penalty, charges,
              including legal fees/charge, etc; which may cause to Axis Bank due to use/disclosure of User’s
              details mentioned herein by User, over NPCI Library and to the Issuing bank for seeking their
              confirmations, in respect of any transaction initiated/authorized by the User. Therefore, the User
              shall be solely liable and responsible, in such case if any loss, cost, penalty, charges, including legal
              fees/charge, etc; incurred to the User, in any manner whatsoever in this regard.

           19. The User agrees that Axis Bank shall assume no responsibility in respect of:


              a) Transactions carried out under the service in good faith relying on User’s instructions.


              b) Not carrying out transactions where Axis Bank has reason to believe in its sole discretion that
              the instructions are not genuine or are otherwise unclear, improper, vague or doubtful.


              c) For any loss or damage incurred or suffered by User for any error, defect, failure or interruption
              of the service or consequences arising out of delayed transfer/remittance and for any reason
              which is beyond control of Axis Bank.


              d) User acknowledges and agrees that Axis Bank remains a mere facilitator for this service and that
              Axis Bank does not warrant or claim any responsibility for this facility nor does Axis Bank endorse
              any such service and/or its standing or reputation whatsoever and Axis Bank shall not liable for
              any deficient or bad services in any manner whatsoever and for any loss, whatsoever that User
              may suffer. The risk in this regard is entirely on the User.


              e) Unauthorized access of any third party to the information/instructions given by user to third
              party using said facility.


              f) For any direct, indirect or consequential damages occurred to User while availing this facility,
              arising out of any error in the facility and which are beyond control of Axis Bank.


              g) When Axis Bank acted in good faith.


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                                 42/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 44 of 49

             h) Any loss, damage, liability
    https://www.whatsapp.com/legal?eea=0          caused or suffered by User due Go
                                                                                 to disclosure
                                                                                      APR MAYofOCT
                                                                                                all information
                                                                                                             👤 of
                                                                                                                ⍰        ❎
            WhatsAppnature
           confidential
   10 captures          Legal Info                                                       30                         f 🐦
   17 Jul 2018 - 3 Jan 2020                                                        2018 2019 2020         ▾ About this capture

              i) In respect of UPI System, as the connectivity to UPI System is extended to the Axis Bank only and
              any/all secure credentials that are required to process the transaction shall be provided by the
              User which will be captured and encrypted as per the construct and requirement of UPI only, by
              NPCI. Therefore, the secure mechanism or interface will be extended by NPCI through UPI system
              to Axis Bank including but not limited to secured credentials or sensitive information such as
              User’s UPI PIN, OTP in encrypted manner.

           20. User agrees that, charges if any for the facility offered by Axis Bank will be at the sole discretion of
              Axis Bank and Axis Bank is at the liberty to withdraw/modify/vary the same from time to time,
              without giving any notice to me/us.

           21. The Bank at its sole discretion reserves the exclusive right to block, temporarily or permanently,
              virtual payment address(es) of the User, if it identifies that the user-name or words used in the
              virtual payment address(es), as misleading, offensive, prohibited, promotional or brand-names,
              trademark or copyright pertaining to any third party, with or without prior intimation to the User,
              for which the Bank shall not be held liable or responsible in any manner whatsoever.

           22. The User agrees that, if his bank account is closed/ blocked pursuant using the facility, for any
              reason whatsoever, user shall settle the issue directly with his Bank and shall not hold Axis Bank
              any way responsible for the same.

           23. The User shall remain responsible for any and all the transactions made through the facility. Axis
              Bank may withdraw or terminate the facility anytime or in case of breach of terms by me/us
              without a prior notice; or if Axis Bank learns of demise, bankruptcy or lack of legal capacity of the
              User or for any reason whatsoever.

           24. The User agrees that, User is not entitled to consolidate amounts available in his different bank
              accounts maintained with his bank(s) for making payments using said Facility. Therefore, at one
              given point of time User is entitled to use funds available in particular bank account which he has
              chosen for making payment using the said Facility.

           25. The User agrees to indemnify, defend and hold harmless Axis Bank and its directors, officers,
              owners, agents, co-branders or other partners, employees, information providers, licensors,
              licensees, consultants, contractors and other applicable third parties (collectively "Indemnified
              Parties") from and against any and all claims, demands, causes of action, debt or liability, including
              reasonable attorney's fees, and costs incurred by the Indemnified Parties arising out of, related to,
              or which may arise from:


              a) any breach or non-compliance by User of any term of these Terms of Service or any other
              additional terms & conditions and policies of Axis Bank;


              b) any dispute or litigation caused by Users actions or omissions;

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                             43/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 45 of 49

    https://www.whatsapp.com/legal?eea=0                                          Go   APR MAY OCT
                                                                                                             👤    ⍰❎
           c)WhatsApp
   10 captures           Legal
              any negligence or Info                                                        30
                                 violation or alleged violation of any law or rights of a third party             f 🐦
   17 Jul 2018 - 3 Jan 2020                                                            2018 2019 2020   ▾ About this capture
           26. Axis Bank may provide the any services through this Facility, directly or through its associates or
              contracted service providers on its behalf.

       Limitations on transactions

       Transaction limits as prescribed by the regulator for the UPI facility shall be applicable to each User

       Indemnity:

       In consideration of Axis bank agreeing to provide the Facility and/or services to the User, the User shall,
       at his own expense, hereby irrevocably agrees, to indemnify and keep Axis bank its directors and
       employees, representatives, agents and/or affiliates (hereinafter referred to as “the related parties”), as
       the case may be, indemnified and harmless, at all times hereafter, from all losses, damages, costs, legal
       fees, charges and expenses and consequences whatsoever, on full indemnity basis, suffered or incurred
       or likely to suffer by Axis bank or the related parties on account of any claims, actions, suits or
       otherwise instituted by the User, or any third party whatsoever, arising out of or in connection with the
       use of the Facility and any and all transactions initiated by the use of the Facility, whether with or
       without the knowledge of the User, or whether the same have been initiated bona fide or otherwise
       which transactions, the User hereby acknowledges, Axis bank or the related parties has processed on
       the User’s transaction instructions and authority of the User in accordance with these terms and
       conditions and other applicable specific terms and conditions, as the case may be. The User further
       agrees and confirms that this indemnity shall remain valid and subsisting and binding upon the User
       notwithstanding partial withdrawal of the Facility.

       The User will pay Axis Bank and /or the related parties such amount as may be determined by Axis
       Bank and/or the related parties to be sufficient to indemnify it against any such loss or expenses even
       though they may not have arisen or are contingent in nature.

       The User agrees to pay any and all costs, damages and expenses, including, but not limited to,
       reasonable attorneys' fees and costs awarded against it or otherwise incurred by or in connection with
       or arising from any such claim, suit, action or proceeding attributable to any such claim.

       Confidentiality and Disclosure:

       To the extent not prohibited by applicable law, the Axis bank shall be entitled to transfer any
       information relating to the User and/or any other information given by the User for utilization of the
       Facility to and between its branches, representative offices, affiliates, representatives, auditors and third
       parties selected by Axis bank, wherever situated, for confidential use in and in connection with the
       Facility. Further, Axis bank shall be entitled at any time to disclose any and all information concerning



https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           44/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 46 of 49

       the User within the knowledge
    https://www.whatsapp.com/legal?eea=0      and possession of Axis bank to anyGoother
                                                                                     APRbank/association/financial
                                                                                          MAY OCT
                                                                                                             👤 ⍰       ❎
            WhatsApp
      institution
   10 captures           Legalbody.
                  or any other                                                           30
                               InfoThis clause will survive the termination of this agreement.                    f 🐦
   17 Jul 2018 - 3 Jan 2020                                                        2018 2019 2020       ▾ About this capture

       Accuracy of Information:

       The User takes the responsibility for the correctness of the information supplied by him to the Bank
       through the use of the said facility or through use of the Application or by any other means.

       The User herein accepts that in case of any discrepancy in the information provided by him with regard
       to this facility the onus shall lie upon the User only and thus agrees to furnish accurate information at
       all times to Axis Bank. If the User suspects that there is an error in the information supplied by Axis
       Bank to him, he shall inform the Bank immediately. Axis Bank will endeavor to correct the error
       promptly wherever possible on a best effort basis. Axis Bank shall also not be responsible for any
       incidental error which occurs inspite of necessary steps being taken by the Bank to ensure the accuracy
       of the information provided to the User and the User shall not have any claim against Axis bank in an
       event of any loss/damage suffered by the User as a consequence of the inaccurate information
       provided by the Bank.

       Termination:

       Axis Bank may, at its discretion, withdraw temporarily or terminate the Facility, either wholly or in part,
       at any time without giving prior notice to the User. Axis Bank may, without prior notice, suspend the
       Facility at any time during which any maintenance work or repair is required to be carried out or in case
       of any emergency or for security reasons, which require the suspension of the Facility. The closure of
       the account of the User will automatically terminate the Facility. Axis Bank may suspend or terminate
       Facility without prior notice if the User has breached these terms and conditions or Axis Bank learns of
       the death, bankruptcy or lack of legal capacity of the User. Except as otherwise provided by the
       applicable law or regulation, Axis bank reserves the right to terminate the Facility and/or expand,
       reduce or suspend the transactions allowed using this Facility, change the process and transaction
       limits associated with this Facility based on security issues, at any time, without any prior notice to the
       User.

       Disclaimers:

       Axis bank shall be absolved of any liability in case:

       The User fails to avail the facility due to force majeure conditions including but not limited to not being
       in the required geographical range or any other reason including natural calamities; legal restraints any
       technical lapses in the telecommunication network or any other reasons beyond the actual control of
       Axis Bank, the Bank shall not be accountable. Also the Bank is herein absolved of any kind of liability
       arising due to a loss; direct or indirect incurred by the User or any other person due to any lapse in the
       facility owing to the above-mentioned reasons.


https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                           45/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 47 of 49

       The User is acting in good faith
    https://www.whatsapp.com/legal?eea=0       on any transaction instructions received
                                                                                 Go APR by Axis
                                                                                           MAY bank;
                                                                                                OCT      👤    ⍰❎
            WhatsApp Legal Info
   10 captures                                                                            30                  f 🐦
       There is any unauthorized use of the User's UPI PIN, Password, Passcode,
   17 Jul 2018 - 3 Jan 2020                                                 2018OTP or Mobile
                                                                                 2019  2020   Phone  orthis capture
                                                                                                ▾ About

       Mobile Phone Number for any fraudulent, duplicate or erroneous transaction instructions given by use
       of the User's UPI PIN, Password, Passcode, OTP or Mobile Phone or Mobile Phone Number;

       There is loss of any information during processing or transmission or any unauthorized access by any
       other person or breach of confidentiality.

       There is any lapse or failure on the part of the service providers or any third party affecting the said
       facility and that Axis bank makes no warranty as to the quality of the service provided by any such
       service provider or any third party.

       Axis Bank does not warrant the confidentiality or security of the messages or notifications whether
       personal or otherwise transmitted through the Application in respect of the said Facility. Axis Bank
       makes no warranty or representation of any kind in relation to the system and the network or their
       function or performance or for any loss or damage whenever and howsoever suffered or incurred by
       the User or by any person resulting from or in connection with the Facility.

       Axis Bank, its directors and employees, agent or contractors, shall not be liable for and in respect of any
       loss or damage whether direct, indirect or consequential, including but not limited to loss of revenue,
       profit, business, contracts, anticipated savings or goodwill, loss of use or value of any equipment
       including software, whether foreseeable or not, suffered by the User or any person howsoever arising
       from or relating to any delay, interruption, suspension, resolution or error of the Bank in receiving and
       processing the request and in formulating and returning responses or any failure, delay, interruption,
       suspension, restriction, or error in transmission of any information or message to and from the
       telecommunication equipment of the User and the network of any service provider and the Bank's
       system or any breakdown, interruption, suspension or failure of the telecommunication equipment of
       the User, the Bank's system or the network of any service provider and/or any third party who provides
       such services as is necessary to provide the Facility.

       Notwithstanding anything in the contrary provided in this terms and conditions, Axis Bank shall not be
       involved in or in any way liable to the User for any dispute between the User and a cellular services
       provider or any third party service provider (whether appointed by the Bank in that behalf or
       otherwise).

       Any loss incurred by the user due to use of the facility by any other person with an express or implied
       permission of the User. Axis bank shall not be held responsible for the confidentiality, secrecy and
       security of the personal or account information being sent through the facility for effecting the User's
       instructions.

       Axis bank shall not be held liable for any loss suffered by the user due to disclosure of the personal
       information to a third party by the Bank, for reasons inclusive but not limited to participation in any
https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                      46/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 48 of 49

       telecommunication or electronic
    https://www.whatsapp.com/legal?eea=0         clearing network, in compliance Go
                                                                                 with APR
                                                                                      a legal
                                                                                           MAYdirective,
                                                                                                  OCT for statistical
                                                                                                              👤 ⍰         ❎
            WhatsApp
      analysis
   10 captures           Legal
               or for credit      Info
                             rating.                                                       30                        f 🐦
   17 Jul 2018 - 3 Jan 2020                                                          2018 2019 2020        ▾ About this capture

       Modification / Alterations To The Facility: Axis Bank reserves the absolute discretionary right to make
       any amendments in the given terms and condition at any time as it may deem fit without any prior
       notice to the User. Any such amendment shall be communicated to the User by displaying on the
       website http://www.axisbank.com (http://www.axisbank.com/) and the User shall be bound by such
       amended terms and conditions.

       Communication:

       Axis Bank and the User may give notice under these terms and conditions electronically to the mailbox
       of the User (which will be regarded as being in writing) or in writing by delivering them by hand or by
       sending them by post to the last address given by the User and in case of Axis Bank at its office at
       Service Quality Department, Axis Bank Limited, Corporate Office, Bombay Dyeing Mills
       Compound,Pandurang Budhkar Marg, Worli, Mumbai - 400025, Tel: (022) 2425 2525. In addition, Axis
       Bank shall also provide notice of general nature regarding the facility and terms and conditions, which
       are applicable to all Users of the Facility, on the website http://www.axisbank.com and/ or also by
       means the customized messages and notifications sent to the User over his Mobile Phone Number as
       short messaging service ("SMS"). In addition Axis bank may also publish notices of general nature,
       which are applicable to all users of the facility. Such notices will be deemed to have been served
       individually to each User.

       Governing law and jurisdiction:

       The construction, validity and performance of these terms and conditions shall be governed in all
       respects by the laws of India. The parties hereby submit to the exclusive jurisdiction of the competent
       Courts at Mumbai, India which courts shall have jurisdiction in the matter to the exclusion of any other
       courts, irrespective of whether such other courts have similar jurisdiction in the matter. Axis Bank is
       absolved of any liability arising, direct or indirect, for non-compliance with the laws of any country
       other than India where the facility is accessible.

       Privacy Policy

       The user adheres to the Privacy policy of the bank that is detailed out in
       https://www.axisbank.com/privacy-policy.




     WHATSAPP                                                          COMPANY


     Features                                                          About

https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                              47/48
4/2/2020                Case 4:19-cv-07123-PJH Document 45-9 Legal
                                                     WhatsApp FiledInfo04/02/20 Page 49 of 49

    https://www.whatsapp.com/legal?eea=0
     Security                                                          Careers        Go   APR MAY OCT          👤     ⍰❎
            WhatsApp Legal Info
   10 captures                                                                                  30                    f 🐦
                                                                                           2018 2019 2020   ▾ About this capture
     Download
   17 Jul 2018 - 3 Jan 2020
                                                                       Brand Center

     WhatsApp Web                                                      Get in touch

     Business                                                          Blog




     DOWNLOAD                                                          HELP


     Mac/PC                                                            FAQ

     Android                                                           Twitter

     iPhone                                                            Facebook

     Windows Phone




     2019 © WhatsApp Inc.

     Privacy & Terms




https://web.archive.org/web/20190530095334/https://www.whatsapp.com/legal?eea=0                                               48/48
